           Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 1 of 99




                             COMMERCIAL POLICY




                                       877-528-7878


                        800 SUPERIOR AVENUE EAST, 21ST FLOOR
                                  CLEVELAND, OH 44114




                            Wesco Insurance Company

                              INSURANCE IS PROVIDED BY
                           THE COMPANY DESIGNATED ON THE
                                  DECLARATIONS PAGE
                               (A Stock Insurance Company)



                 THIS POLICY CONSISTS OF:
                   -- DECLARATIONS
                   -- COMMON POLICY CONDITIONS
                   -- ONE OR MORE COVERAGE PARTS, and
                   -- APPLICABLE FORMS AND ENDORSEMENTS




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Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 2 of 99




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                  Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 3 of 99




Read Your Policy Carefully


This policy is a legal contract between you and us. The information on this page is not the insurance contract and only
the actual policy provisions will control. The policy sets forth in detail the rights and obligations of both you and us. It is
therefore important that you read your policy carefully.

We will provide the insurance described in this policy in return for the premium and compliance with all applicable
provisions of the policy.

This policy is signed by the President and Secretary of the insurance company and, if required by State law, this policy
shall not be valid unless countersigned on the Declaration page by its authorized representative.




             President                                      Secretary




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Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 4 of 99




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                  Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 5 of 99



   AMTRUST                 FI Advantage


                                                                                     Policy No. WDO1429740 00

                                            Wesco Insurance Company
                                 (A Stock Insurance Company, herein called the Insurer)

                                                DECLARATIONS PAGE
 This is a claims-made policy. Defense Expenses are included within the Limit of Liability. Amounts incurred
 as Defense Expenses will reduce the Limit of Liability available to pay judgments or settlements. Please read
 this Policy carefully!


 Item 1:    (a)    Yellowstone Partners, LLC
                   3340 Merlin Drive
                   Suite 100
                   Idaho Falls, ID 83404

            (b) Subsidiaries: See Schedule of Subsidiaries


 Item 2:    Policy Period:         From: 1/1/2016 To: 1/1/2017
            12:01 A.M. local time at the principal address stated in Item 1 above.


 Item 3:    Policy Year Aggregate Limit of Liability: $2,000,000


 Item 4:    Coverage Elections, Limit of Liability, Retentions, and Premium:
            *Only those Coverage Parts and Insuring Agreements designated with an “X” below are covered
            under this Policy.

                                                   (a)            (b)               (c)                           (e)
    Coverage Part/Insuring                                                                            (d)
                                     “X”       Sublimit of   Separate Limit     Single Limit                    Annual
         Agreement                                                                                 Retention
                                                Liability     of Liability      of Liability                   Premium
Directors & Officers Liability
A. Insured Persons Liability          X     N/A                N/A                             0
B. Company Indemnification            X        N/A             N/A                             $25,000
C.1. Company Liability                X        N/A             N/A                             $25,000
  2. Investigation Expense           N/A       N/A             N/A              $2,000,000     0               $3,991
Professional Liability
A. Lender Liability                  N/A       N/A             N/A                             0
B. Professional Services              X        N/A             N/A                             $25,000
   IRA/Keogh & HSA Wrongful
                                     N/A       N/A             N/A                             0
   Acts
C. Trust Services                    N/A       N/A             N/A             $2,000,000      0               $9,362




                                                                                                                 1

 PL-FI-DEC 0414
Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 6 of 99




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                        Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 7 of 99


    Item 4: (con’t)
                                                                        (a)                   (b)                (c)                     (d)                (e)
               Coverage Part                            “X”         Sublimit of            Separate         Single Limit              Retention           Annual
                                                                     Liability             Limit of         of Liability                                 Premium
                                                                                           Liability

 Employment Practices Liability
 A. Employment Practices
    Liability                                           N/A        N/A                     N/A                                    0
 B. Third Party Liability                               N/A        N/A                     N/A                                    0
 Fiduciary Liability
 A. Fiduciary Liability                                 N/A        N/A                     N/A                                    0
 B. Voluntary Settlement                                           N/A                     N/A                                    0
      Program                                           N/A
 C. HIPAA Civil Money Penalties                         N/A        N/A                     N/A                                    0
 Network Security and Privacy
 Liability
 A. Network Security and Privacy
      Liability                                         N/A        N/A                     N/A                                    0
 B. Media Communications
                                                        N/A        N/A                     N/A                                    0
      Liability
 C. Regulatory Defense and
                                                        N/A        N/A                     N/A                                    0
      Penalties
 II.A. Crisis Mitigation Expense                        N/A        N/A                     N/A                                    0
 II.B. Cyber Extortion Threat                           N/A        N/A                     N/A                                    0
 II.C. Business Interruption                            N/A        N/A                     N/A                                    0
    0 hour :DLWLQJ3HULRGfor Business Interruption for Insuring Agreement II.C.
*______                                                                                                $QQXDO Premium: $   13,353
                                                                                                       Taxes SXUFKDUJHV  0
                                                                                                       7RWDO$PRXQW'XHBBBBBBBBBBBBBBBBB
                                                                                                                                             13,353
    Item 5:        Prior and Pending Litigation and Retroactive Date(s):

                                                                                       (a) Pending and
                                                                                                                                 (b)
                                  Coverage Part                                         Prior Litigation
                                                                                                                     Retroactive Coverage Date
                                                                                             Date
          Directors and Officers Liability
          A. Insured Persons Liability                                               1/9/1900                               N/A

          B. Company Indemnification                                                 1/9/1900                               N/A
          C. 1. Company Liability                                                    1/9/1900                               N/A
          C. 2. Investigation Expense                                                N/A                                    N/A
          Professional Liability
          A. Lender Liability                                                        N/A                                    N/A
          B. Professional Services                                                   1/9/1900                               1/9/1900
          C. Trust Services                                                          N/A                                    N/A
          Employment Practices Liability
          A. Employment Practices Liability                                          N/A                                    N/A
          B. Third Party Liability                                                   N/A                                    N/A


                                                                                                                                                          2

    PL-FI-DEC 0414
Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 8 of 99




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             Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 9 of 99


    Fiduciary Liability
    A. Fiduciary Liability                                N/A                                N/A
    Network Security and Privacy Liability
    A. Network Security and Privacy Liability             N/A                                N/A
    B. Media Communications Liability                     N/A                                N/A
    C. Regulatory Defense and Penalties                   N/A                                N/A


Item 6:   Extended Reporting Period (ERP):

          (a) Percentage of Annual Premium:           125 %
          (b) ERP Term:                               365 days

          Applicable only if exercised in accordance with Section IX of the General Terms & Conditions Applicable to
          All Coverage Parts, entitled Extended Reporting Period.


Item 7:   Endorsements attached at issuance:         Refer to attached Endorsement Schedule

The Parent Company, by the acceptance of this Policy, gives notice to the Insurer cancelling any prior Policy
issued, and such cancellation shall be effective as of the time this Policy becomes effective.


Item 8:      All notices required to be given to the Insurer shall be sent by registered mail, email or fax to:

             AmTrust Claims Director
             AmTrust Financial Group
             135 S. LaSalle Street; Suite 1925
             Chicago, IL 60603
             Email: anaclaimsreporting@amtrustgroup.com
             Fax:    312-781-0423


In witness whereof, this Declarations Page is to be signed by a duly authorized representative of the Insurer.


Date: 1/1/2016                   Signature:
                                                           Authorized Representative




                                                                                                                  3

PL-FI-DEC 0414
Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 10 of 99




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          Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 11 of 99


This endorsement is attached to and forms a part of Policy No. WDO1429740 00 effective 1/1/2016.

                                        ENDORSEMENT SCHEDULE


PL9901580414                        FINANCIAL INSTITUTION GENERAL TERMS AND CONDITIONS
PL9901590414                        FINANCIAL INSTITUTION DIRECTORS & OFFICERS LIABILITY
                                    COVERAGE PART
PL9901630414                        FINANCIAL INSTITUTION PROFESSIONAL LIABILITY COVERAGE
                                    PART
PL990170ID0414                      IDAHO AMENDATORY ENDORSEMENT
PL990185ID0414                      GENERAL TERMS AND CONDITIONS MODIFICATION NON-
                                    CANCELLATION ENDORSEMENT
PL9901980414                        DIRECTORS AND OFFICERS LIABILITY COVERAGE PART
                                    MODIFICATION PRIVACY LIABILITY COVERAGE
PL9902360414                        POLICY CHANGE ENDORSEMENT
PL9902580414                        PROFESSIONAL SERVICES BY SPECIFIC ENTITY EXCLUSION
PL9902711014                        EXCLUSION OF CERTIFIED ACTS OF TERRORISM




Nothing herein contained shall be held to vary, alter, waive or extend any of the terms, conditions, provisions,
agreements or limitations of the Policy other than as above stated.




PL990278 0414                                                                                      Page 1 of 1
Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 12 of 99




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          Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 13 of 99



AmTrust Bank Insurance – Claims Service

AmTrust’s professional claims processing staff has an average of 20+ years of experience and maintains low workloads, enabling
the effective management of claims. Benefits for our customers include a 24/7 centralized call center staffed by special claims
operators; prompt payout to injured employees, medical providers and others; and return-to-work options initiated through a joint
effort.

Information Required for All Claims Reported
    •    Description of accident or incident
    •    Name, phone and /or email of person making the report

Additional Information Required for Specific Claim Types
    •    For Workers’ Compensation
              o    MUST have the injured employee’s social security number as it is required by law
              o    Description of Injury

    •    For Property Claims
              o    Physical address of the loss
              o    If more than one building on property, must have specific building(s) involved
              o    Type of loss, i.e., fire, theft, etc.
              o    Description of loss or damage

    •    For Motor Vehicle (Auto) Claims
              o    Name, address and contact information of ALL parties involved
              o    Make, model and VIN of the insured vehicle
              o    Make, Model of all other vehicles involved
              o    Current location of all vehicles
              o    Name and contact information for each driver and all passengers
              o    Name and contact information for any known witnesses

    •    For General Liability Claims
              o    Physical address of where the loss occurred
              o    Name, address and contact information for all persons claiming injury or damage
              o    Name and contact information for any known witnesses



 For ALL States                                               Professional Liability
 First Report of Claim:                                       Financial Institution Bonds
 Phone: 866.272.9267                                          Jay Fenton, Claims Manager
 Fax: 877.669.9140                                            AmTrust North America
 Email: amtrustclaims@qrm-inc.com                             Professional Lines Claim Dept.
                                                              135 S LaSalle St., Suite 1925
 Claim Status: 888.239.3909                                   Chicago, IL 60603
                                                              Phone: 312.803.6083
                                                              Email: Jay.Fenton@amtrustgroup.com
 For Florida Worker’s Comp Only
 First Report of Claim:
                                                              Auto/General Liability
 Phone: 888.225.2442
 Fax: 561.241.3257                                            Tim McElroy, Claims Manager
 Email: flclaims@amtrustgroup.com                             Phone: 214.360.2441
 Claims Status: 888.239.3909                                  Email: Tim.McElroy@amtrustgroup .com

 For Property
 Joe Bonanno, Claims Manager
 Phone: 214.360.8683
 Email Joe.Bonanno@amtrustgroup.com
Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 14 of 99




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            Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 15 of 99


This endorsement is attached to and forms a part of Policy No. WDO1429740 00 effective 1/1/2016        .



THIS NOTICE IS ATTACHED TO AND MADE PART OF YOUR POLICY IN RESPONSE TO
THE DISCLOSURE REQUIREMENTS OF THE TERRORISM RISK INSURANCE ACT. THIS
     NOTICE DOES NOT GRANT ANY COVERAGE OR CHANGE THE TERMS AND
              CONDITIONS OF ANY COVERAGE UNDER THE POLICY.

                   TERRORISM RISK INSURANCE ACT DISCLOSURE NOTICE


                                                   SCHEDULE


 Terrorism Premium (Certified Acts)           $ -0-

 This premium is the total Certified Acts premium attributable to your policy.




A.    Disclosure Of Premium
      In accordance with the federal Terrorism Risk Insurance Act, we are required to provide you with a notice
      disclosing the portion of your premium, if any, attributable to coverage for terrorist acts certified under the
      Terrorism Risk Insurance Act. The portion of your premium attributable to such coverage is shown in the
      above Schedule. Such premium is included in the policy premium quoted.
B.    Disclosure Of Federal Participation In Payment Of Terrorism Losses
      The United States Government, Department of the Treasury, will pay a share of terrorism losses insured
      under the federal program. The federal share equals 85% of that portion of the amount of such insured
      losses that exceeds the applicable insurer retention. However, if aggregate insured losses attributable to
      terrorist acts certified under the Terrorism Risk Insurance Act exceed $100 billion in a Program Year (Janu-
      ary 1 through December 31), the Treasury shall not make any payment for any portion of the amount of
      such losses that exceed $100 billion.
C.    Cap On Insurer Participation In Payment Of Terrorism Losses
      If aggregate insured losses attributable to terrorist acts certified under the Terrorism Risk Insurance Act ex-
      ceed $100 billion in a Program Year (January 1 through December 31) and we have met our insurer de-
      ductible under the Terrorism Risk Insurance Act, we shall not be liable for the payment of any portion of the
      amount of such losses that exceeds $100 billion, and in such case insured losses up to that amount are
      subject to pro rata allocation in accordance with procedures established by the Secretary of Treasury.




PN990128 0414                                                                                                           
Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 16 of 99




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              Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 17 of 99




                           AMTRUST FI ADVANTAGE
              KEEP THIS NOTICE WITH YOUR INSURANCE PAPERS
AmTrust Underwriting Service            AMTRUST NORTH AMERICA
In the event you need to contact someone about this               Attention: Financial Institution Division
insurance for any reason, please contact your agent. If no        800 Superior Ave • 21st Floor • Cleveland, OH, 44114
agent was involved in the sale of this insurance, or if you       Telephone: 866.327.6904 • Fax: 216.328.6251
have additional questions, you may contact AmTrust                Website: www.amtrustnorthamerica/financial-
North America’s Financial Institution Division at:                institutions.com

Complaint Information                                             OFFICE OF THE ATTORNEY GENERAL
If you have been unable to contact or obtain satisfaction         Consumer Protection Division
from the insurance company or your agent, you may                 954 W. Jefferson, 2nd Floor
contact the Office of the Attorney General.                       PO Box 83720
                                                                  Boise ID 83720-0010
                                                                  1-800-432-3545 or 208-334-2424
   Written correspondence is preferable so that a record of your inquiry is maintained. When contacting your agent,
                   insurance company or the Attorney General, have your policy number available.

                                            AmTrust Claims Service
AmTrust’s claims staff has an average of 20+ years of experience and provides effective management of claims. Benefits for
our customers include a 24/7 centralized call center staffed by special claims operators; prompt payout to injured
employees, medical providers and others, return-to-work options initiated through a joint effort, adjusters specialized by
claim types, field adjusters to provide direct assistance at loss locations and a highly qualified panel of defense attorneys.
Information Required for All Claims Reported                      For Motor Vehicle (Auto) Claims
   Description of accident or incident                            o Name, address and contact information of ALL
   Name, phone and/or email of person making the                     parties involved
    report                                                         o Make, model and VIN of the insured vehicle
Additional Information Required for Specific Claim Types           o Make, model of all other vehicles involved
                                                                   o Current location of all vehicles
   For Workers’ Compensation
                                                                   o Name and contact information for each driver and
    o MUST have the injured employee’s social security
                                                                      all passengers
       number as it is required by law
                                                                   o Name and contact information for any known
    o Description of injury
                                                                      witnesses
   For Property Claims
                                                                  For General Liability Claims
    o Physical address of the loss
                                                                   o Physical address of where the loss occurred
    o If more than one building on property, must have
                                                                   o Name, address and contact information for all
       specific building(s) involved
                                                                      persons claiming injury or damage
    o Type of loss, i.e., fire, theft, etc.
                                                                   o Name, contact information for any known witnesses
    o Description of loss or damage

Professional Liability Lines                                                                Financial Institution Bond
Jay Fenton, Claims Manager              Paul Poppish, Vice President – Claims               Jay Fenton, Claims Manager
312.803.6083                            312.803.4630                                        312.803.6083
jay.fenton@amtrustgroup.com             paul.poppish@amtrustgroup.com                       jay.fenton@amtrustgroup.com

Workers’ Compensation (All States Except Florida), Property, Auto,
Inland Marine, General Liability and Umbrella (ALL STATES)                      Florida Workers’ Comp Only
First Report of Claim:                                                          First Report of Claim:
Phone: 866.272.9267                                                             Phone: 888.225.2442
Fax: 877.669.9140                                                               Fax: 561.241.3257
Email: amtrustclaims@qrm-inc.com                                                Email: flclaims@amtrustgroup.com
Claims Status: 888.239.3909                                                     Claims Status: 888.239.3909
              Website: https://amtrustgroup.com/small-business-insurance/claims/claim-center/report-claim

PN990158ID 1015
Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 18 of 99




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                                 Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 19 of 99
                                                                               AGENCY CUSTOMER ID:


                                                          INSURANCE SUPPLEMENT
AGENCY                                                                        CARRIER                                                NAIC CODE
Arthur J. Gallagher & Co. - Irvine                                            Wesco Insurance Company                                25011

       NUMBER
POLICY NUMBER                                                                 APPLICANT / NAMED INSURED
WDO1429740 00                                                                 Yellowstone Partners, LLC



                                                          POLICYHOLDER DISCLOSURE
                                                  NOTICE OF TERRORISM INSURANCE COVERAGE

             You are hereby notified that under the Terrorism Risk Insurance Act, as amended, you have a right to purchase
             insurance coverage for losses resulting from acts of terrorism. As defined in Section 102(1) of the Act: The term
             “act of terrorism” means any act or acts that are certified by the Secretary of the Treasury—in consultation with
             the Secretary of Homeland Security, and the Attorney General of the United States—to be an act of terrorism; to
             be a violent act or an act that is dangerous to human life, property, or infrastructure; to have resulted in damage
             within the United States, or outside the United States in the case of certain air carriers or vessels or the premises
             of a United States mission; and to have been committed by an individual or individuals as part of an effort to
             coerce the civilian population of the United States or to influence the policy or affect the conduct of the United
             States Government by coercion.

             YOU SHOULD KNOW THAT WHERE COVERAGE IS PROVIDED BY THIS POLICY FOR LOSSES
             RESULTING FROM CERTIFIED ACTS OF TERRORISM, SUCH LOSSES MAY BE PARTIALLY REIMBURSED
             BY THE UNITED STATES GOVERNMENT UNDER A FORMULA ESTABLISHED BY FEDERAL LAW.
             HOWEVER, YOUR POLICY MAY CONTAIN OTHER EXCLUSIONS WHICH MIGHT AFFECT YOUR
             COVERAGE, SUCH AS AN EXCLUSION FOR NUCLEAR EVENTS. UNDER THE FORMULA, THE UNITED
             STATES GOVERNMENT GENERALLY REIMBURSES 85% THROUGH 2015; 84% BEGINNING ON JANUARY
             1, 2016; 83% BEGINNING ON JANUARY 1, 2017; 82% BEGINNING ON JANUARY 1, 2018; 81% BEGINNING
             ON JANUARY 1, 2019 and 80% BEGINNING ON JANUARY 1, 2020, OF COVERED TERRORISM LOSSES
             EXCEEDING THE STATUTORILY ESTABLISHED DEDUCTIBLE PAID BY THE INSURANCE COMPANY
             PROVIDING THE COVERAGE. THE PREMIUM CHARGED FOR THIS COVERAGE IS PROVIDED BELOW
             AND DOES NOT INCLUDE ANY CHARGES FOR THE PORTION OF LOSS THAT MAY BE COVERED BY
             THE FEDERAL GOVERNMENT UNDER THE ACT.

             YOU SHOULD ALSO KNOW THAT THE TERRORISM RISK INSURANCE ACT, AS AMENDED, CONTAINS A
             $100 BILLION CAP THAT LIMITS U.S. GOVERNMENT REIMBURSEMENT AS WELL AS INSURERS’
             LIABILITY FOR LOSSES RESULTING FROM CERTIFIED ACTS OF TERRORISM WHEN THE AMOUNT OF
             SUCH LOSSES IN ANY ONE CALENDAR YEAR EXCEEDS $100 BILLION. IF THE AGGREGATE INSURED
             LOSSES FOR ALL INSURERS EXCEED $100 BILLION, YOUR COVERAGE MAY BE REDUCED.


             Acceptance or Rejection of Terrorism Insurance Coverage
                      I hereby elect to purchase terrorism coverage for a prospective premium of $ 2% of the premium                   .
                      I hereby decline to purchase terrorism coverage for certified acts of terrorism. I understand that I will have
                      no coverage for losses resulting from certified acts of terrorism.




                           Policyholder / Applicant’s Signature                               Print Name                    Date


                           Policyholder / Applicant’s Signature                               Print Name                    Date


                           Policyholder / Applicant’s Signature                               Print Name                    Date

                                                                                                                          1/1/2016
                                                                                                                        Effective Date

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Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 20 of 99




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            Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 21 of 99



 AMTRUST                FI Advantage


                                                                                    Policy No. WDO1429740 00

                                       Wesco Insurance Company
                          (A Stock Insurance Company, herein called the Insurer)

                             FINANCIAL INSTITUTION
         GENERAL TERMS AND CONDITIONS APPLICABLE TO ALL COVERAGE PARTS



This is a claims-made policy. Defense Expenses are included within the Limit of Liability.
Amounts incurred as Defense Expenses will reduce the Limit of Liability available to pay
judgments or settlements. Please read this Policy carefully!

In consideration of the premium paid and in reliance upon all statements made and information contained in the
Declarations Page and Application, the Insurer and the Insureds agree that coverage will be provided subject
to all of the terms, conditions and limitations of this Policy, as follows:

                                 SECTION I – GENERAL INFORMATION

These General Terms and Conditions apply to all Coverage Parts made a part of this Policy. Unless otherwise
stated to the contrary, the terms and conditions of each Coverage Part apply only to that particular Coverage
Part. If any provision in these General Terms and Conditions is inconsistent or in conflict with the terms and
conditions of any particular Coverage Part, the terms, conditions, and limitations for that particular Coverage
Part shall apply.

                                        SECTION II – DEFINITIONS

Whenever appearing in this Policy, the following words and phrases appearing in bold type will have the
meanings set forth below.

Application means:
1.      the application signed for the procurement of this Policy and any materials submitted to the Insurer in
        support of the procurement of this Policy or any Policy for which this Policy is a direct or indirect
        renewal or replacement;
2.      any publicly available information published or filed by or with a recognized source, agency or institution
        regarding the Insured in the three (3) years preceding the Policy's inception, and any amendments
        thereto, whether or not submitted with any signed application; and
3.      if applicable, any representation provided to the Insurer within the past three (3) years in connection
        with any Policy for which this Policy is a direct or indirect renewal or replacement.
The Application is deemed to be attached to and incorporated into this Policy, as if physically attached.
Change of Control means:
1.      the acquisition of the Parent Company, or of all or substantially all of its assets, by another entity, or
        the merger or consolidation of the Parent Company into or with another entity such that the Parent
        Company is not the surviving entity; or
2.      the obtaining by any person, entity or affiliated group of persons or entities the right to elect, appoint or
        designate more than fifty percent (50%) of the board of directors, board of trustees, board of managers,



PL990158 0414                                                                                               Page 1
            Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 22 of 99


        or functional equivalent thereof or to exercise a majority control of the board of directors, board of
        trustees, board of managers, or a functional equivalent thereof of the Parent Company.
Claim has the meaning set forth in the applicable Coverage Part.
COBRA means the Consolidated Omnibus Budget Reconciliation Act of 1985, as amended.
Company means the Parent Company and any Subsidiary.
Coverage Part means only those coverage parts designated in Item 4. of the Declarations Page.
Defense Expenses means reasonable and necessary legal fees and expenses incurred by the Insurer or the
Insured, with the Insurer’s consent, in the investigation, defense, settlement and appeal of a Claim, including
but not limited to, cost of expert consultants and witnesses, premiums for appeal, injunction, attachment or
supersedeas bonds (without the obligation to furnish such bonds) regarding such Claim. Defense Expenses
will not include the salaries, wages, benefits or overhead of, or paid to, any Insured or any Employee of such
Insured.
Domestic Partner means any natural person qualifying as such under the provisions of any federal, state or
local law or under the provisions of any formal, written program established by the Company.
Employee has the meaning set forth in the applicable Coverage Part.
ERISA means the Employee Retirement Income Security Act of 1974, including amendments thereto and
regulations promulgated thereunder or any similar common or statutory law.
Executive has the meaning set forth in the applicable Coverage Part.
Financial Insolvency means, with respect to the Company, the appointment of a receiver, conservator,
liquidator, trustee or similar official; Regulatory Agency; or the inability of the Company financially to
indemnify the Insured Persons.
Independent Contractor means any natural person working for the Company in the capacity of an
Independent Contractor pursuant to an express contract or agreement with the Company governing the
nature of such person’s engagement. The status of an individual as an Independent Contractor will be
determined as of the date of the alleged Wrongful Act.
Insured has the meaning set forth in the applicable Coverage Part.
Insured Person has the meaning set forth in the applicable Coverage Part.
Interrelated Wrongful Acts means Wrongful Acts which have as a common nexus any fact, circumstance,
situation, event, transaction or series of related facts, circumstances, situations, events or transactions.
Loss has the meaning set forth in the applicable Coverage Part.
Loss Information means information on open, closed and potential Claims, including date, description, and
payment amounts, if any.
Parent Company means the entity named in Item 1.(a) of the Declarations Page.
Policy means, collectively, the Declarations Page, the Application, the General Terms and Conditions Applicable
to All Coverage Parts, each Coverage Part purchased, and any Endorsements attached thereto.
Policy Period means the period from the effective date of this Policy to either the Policy expiration date, as
shown in Item 2. of the Declarations Page or the date on which the Policy is effectively terminated, whichever is
sooner, but shall not include the Extended Reporting Period.
Policy Year means the period of one (1) year following the effective date and hour of this Policy as shown in
Item 2. of the Declarations Page or any anniversary thereof; or if the time between the effective date and the
termination of the Policy is less than one (1) year, such lesser period. Notwithstanding the above, if the
expiration is extended for any reason, the Limit of Liability provided during the extension period shall be
considered part of, and not in addition to, the Limit of Liability provided during the last Policy Year.




PL990158 0414                                                                                           Page 2
            Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 23 of 99


Pollutants means any solid, liquid, gaseous or thermal organism, irritant or contaminant, including but not
limited to smoke, vapor, soot, fumes, acids, alkalis, chemicals, hazardous substances, nuclear materials, and
waste. Waste includes materials to be recycled, reconditioned or reclaimed.
Potential Claim means any Wrongful Act that may subsequently give rise to a Claim.
Regulatory Agency means any federal, state, local or foreign law enforcement or governmental authority
including, the U.S. Department of Justice, the Federal Deposit Insurance Corporation, the Office of Thrift
Supervision, the Federal Reserve, the National Credit Union Administration, the Federal Home Loan Bank Board,
the Office of the Comptroller of the Currency, the U.S. Securities and Exchange Commission and any attorney
general or the enforcement unit of any securities exchange or similar self-regulatory body.
Subsidiary means:
1.   any entity in which the Company owns, directly or through one or more subsidiaries, more than fifty
     percent (50%) of the outstanding securities representing the present right to vote for, elect, appoint or
     exercise a majority control over such entity’s board of directors, board of trustees, board of managers,
     natural person partners or functional equivalent;
2.   any limited liability company in which the Company, or one or more of its subsidiaries, has the right to
     appoint or designate fifty percent (50%) or more of such limited liability company's managers; or
3.   any joint venture in which the Company, or one or more of its subsidiaries, has the right to elect, appoint
     or designate more than fifty percent (50%) of such entity's directors, trustees or other equivalent
     executives;
provided that such entities, limited liability companies or joint ventures are named in the Application for
coverage.
Wrongful Act has the meaning set forth in the applicable Coverage Part.

                        SECTION III - LIMIT OF LIABILITY AND RETENTION

A.     LIMIT OF LIABILITY
       1.       The amount set forth in Item 3. of the Declarations Page is the maximum Policy Year
                Aggregate Limit of Liability of the Insurer for all Loss from all Claims under all purchased
                Coverage Parts, regardless of the number of Insureds, Claims made, or persons or entities
                bringing such Claims. The Single Limit of Liability and the Separate Limit of Liability on the
                Declarations Page are sub-limits of the Policy Year Aggregate Limit of Liability which further
                limits and does not increase the Insurer’s limit of liability.
       2.       The Coverage Parts of this Policy are offered with either a Single Limit of Liability applicable in
                the aggregate to all Insuring Agreements or a Separate Limit of Liability for each Insuring
                Agreement as set forth in Item 4. of the Declarations Page.
                a.      Each Single Limit of Liability designated in Item 4.(c) of the Declarations Page shall be
                        the maximum per Policy Year limit of liability of the Insurer for all Loss under the
                        respective Coverage Part regardless of the number of Insureds, Claims made, or
                        persons or entities bringing such Claims. Each such Single Limit of Liability is a sublimit
                        of and erodes the Policy Year Aggregate Limit of Liability set forth in Item 3. of the
                        Declarations Page.
                b.      Each Separate Limit of Liability designated in Item 4.(b) of the Declarations Page shall
                        apply as separate Limit of Liability for each indicated Insuring Agreement and shall be
                        the maximum per Policy Year limit of liability of the Insurer for all Loss under the
                        respective Insuring Agreement regardless of the number of Insureds, Claims made, or
                        persons or entities bringing such Claims. Each such Separate Limit of Liability is a
                        sublimit of and erodes the Policy Year Aggregate Limit of Liability set forth in Item 3. of
                        the Declarations Page.



PL990158 0414                                                                                             Page 3
            Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 24 of 99


       3.       Subject always to the applicable Limit of Liability, should two or more Coverage Parts apply to
                the same Claim; the Insurer will not pay more than the actual Loss incurred by the Insureds.
       4.       Defense Expenses shall be part of, and not in addition to, each applicable Limit of Liability. Payment
                of Defense Expenses by the Insurer shall reduce each applicable Limit of Liability.
       5.       The Insurer’s obligations for all Claims shall cease upon exhaustion of the Policy Year Aggregate
                Limit of Liability set forth in Item 3. on the Declarations Page and, to the extent any Single Limit of
                Liability or Separate Limit of Liability is exhausted, the Insurer’s obligations for all Claims under that
                particular Coverage Part or Insuring Agreement shall cease.
B.     RETENTION
       1.       The applicable Retention(s) for each purchased Coverage Part are set forth in Item. 4.(d) of
                the Declarations Page. The Insurer has no obligation to pay Loss, including Defense
                Expenses, until the Retention has been paid by the Insured. Except for the payment of
                Defense Expenses, the Insurer shall pay or reimburse one hundred percent (100%) of
                covered Loss, in excess of the applicable Retention, upon final disposition of the Claim.
       2.       Each Retention shall be borne by the Insured and shall remain uninsured.
       3.       If a Claim is subject to more than one Retention, the applicable Retention shall apply separately
                to such Claim, provided that the total Retention for such Claim shall not exceed the largest
                applicable Retention.
C.     SINGLE LIMIT/RETENTION - Claims based upon or arising out of the same Wrongful Act or
       Interrelated Wrongful Acts committed by one or more Insureds shall be considered a single Claim,
       and only one Retention and Limit of Liability shall apply. Each such single Claim shall be deemed to be
       first made on the date the earliest of such Claims was first made, regardless of whether such date is
       before or during the Policy Period.

                              SECTION IV – SUPPLEMENTAL COVERAGES

 A.    SPOUSAL LIABILITY COVERAGE - This Policy will, subject to all of its terms, conditions, and
       limitations, be extended to apply to Loss resulting from a Claim made against a person who, at the time
       the Claim is made, is a lawful spouse or Domestic Partner of an Insured Person, but only if and so
       long as:
       1.       the Claim against such spouse or Domestic Partner results from a Wrongful Act actually or
                allegedly committed by the Insured Person, to whom the spouse is married, or who is joined
                with the Domestic Partner; and
       2.       such Insured Person and his or her spouse or Domestic Partner are represented by the same
                counsel in connection with such Claim.
B.     ESTATES, HEIRS AND LEGAL REPRESENTATIVES - In the event of the death, incapacity or
       bankruptcy of an Insured Person, any Claim against the estate, heirs, legal representatives or
       assigns (including Domestic Partners) of such Insured Person for a Wrongful Act of such
       Insured Person will be deemed to be a Claim against such Insured Person.
       No spouse or Domestic Partner of an Insured Person will, by reason of this subsection have any
       greater right to coverage under this Policy than the Insured Person to whom such spouse is married,
       or to whom such Domestic Partner is joined.
       The Insurer has no obligation to make any payment for Loss in connection with any Claim against a
       spouse or Domestic Partner of an Insured Person for any actual or alleged act, error, omission,
       misstatement, misleading statement, neglect or breach of duty by such spouse or Domestic Partner.




PL990158 0414                                                                                                    Page 4
            Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 25 of 99




                    SECTION V - NOTICE OF CLAIMS AND POTENTIAL CLAIMS

A.     NOTICE OF CLAIMS - The Insured shall, as a condition precedent to their rights under this Policy,
       give the Insurer written notice as soon as practicable, of any Claim made and brought to the attention
       of an Executive, but in no event later than ninety (90) days after the expiration of the Policy Year in
       which the Claim was first made or the expiration of the Policy Period.
B.     NOTICE OF POTENTIAL CLAIMS - If during the Policy Period the Insured, through an Executive,
       first becomes aware of facts or circumstances which may reasonably give rise to a Potential Claim and
       gives written notice to the Insurer of the reasons for anticipating such Potential Claim, then any
       Claim subsequently made shall be deemed to have been first made during the Policy Year in which
       notice was first given to the Insurer.
       As a condition precedent to any coverage hereunder for such Potential Claims, such notice must be
       specific and contain full particulars as to the names, dates, and persons involved in the underlying facts
       potentially giving rise to the Potential Claim, as well as the identity of the potential plaintiffs and the
       causes of action to be asserted.
C.     INTERRELATED CLAIMS - All Claims or Potential Claims for Interrelated Wrongful Acts will be
       considered as a single Claim or Potential Claim, whichever is applicable, for purposes of this Policy.
       All Claims or Potential Claims for Interrelated Wrongful Acts will be deemed to have been made at
       the time the first of such Claims or Potential Claims for Interrelated Wrongful Acts was made
       whether prior to or during the Policy Period.
D.     NOTICE REQUIREMENTS - Notice of Claims and Potential Claims shall be effective on the date of
       receipt by the Insurer. All notices under this subsection must be sent in writing to the address set forth
       in Item 8. of the Declarations Page and will be effective upon receipt.
E.     CROSS COVERAGE NOTICE - It is agreed that notice provided to the Insurer of any Claim,
       Potential Claim or circumstances which may give rise to a Claim under any Coverage Part shall be
       deemed to have been provided under the Policy in its entirety.

     SECTION VI – DEFENSE OF CLAIMS, INSURED’S DUTIES AND RESPONSIBILITIES,
                         ALLOCATION, AND ARBITRATION

A.     DEFENSE OF CLAIMS – The Insurer does not assume any duty-to-defend a Claim. The Insured
       shall defend and contest any Claim made against them, provided that:
       1.       the Insurer will have the right to participate with the Insured in the investigation, defense and
                settlement, including the negotiation of a settlement of any Claim that appears reasonably likely
                to be covered in whole or in part by such Coverage Part and the selection of appropriate
                defense counsel;

       2.       the Insurer may establish and provide to counsel for the Insured guidelines for the handling of
                Claims covered under this Policy. As a condition of the Insurer's obligation to pay Defense
                Expenses, counsel for the Insured shall adhere to the guidelines provided by the Insurer in
                the defense of such Claims. The Insurer shall not be obligated to pay Defense Expenses that
                have been incurred without observance of the guidelines, or that otherwise are unreasonable;
                and
       3.       upon written request, the Insurer will advance Defense Expenses with respect to such Claim.
                Such advanced payments by the Insurer will be repaid to the Insurer by the Insureds
                severally according to their respective interests in the event and to the extent that the Insureds
                are not entitled to payment of such Defense Expenses. As a condition of any payment of
                Defense Expenses under this subsection, the Insurer may require a written undertaking on
                terms and conditions satisfactory to the Insurer guaranteeing the repayment of any Defense


PL990158 0414                                                                                            Page 5
            Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 26 of 99


                Expenses paid to or on behalf of any Insured if it is finally determined that any such Claim or
                portion of such Claim is not covered.


B.     INSURED’S DUTIES AND RESPONSIBILITIES – It shall be the duty and responsibility of the
       Insured, as a condition precedent to any coverage under this Policy:
       1.       to grant to the Insurer the right to associate itself in defense and settlement of any Claim that
                appears reasonably likely to involve the Insurer;
       2.       not to, except at personal cost, make any payment, admit any liability, settle any Claims,
                assume any obligation, or incur any expense without the Insurer's written consent, which
                consent shall not be unreasonably withheld;
       3.       to assert all appropriate defenses and to take all steps in defense of any Claim made, including
                but not limited to, releasing to the Insurer all copies of reports, investigations, pleadings and
                other papers as soon as reasonably possible and to provide the Insurer with such information,
                assistance and cooperation as the Insurer may reasonably request to determine the existence or
                extent of the Insurer’s obligation; and
       4.       to conduct all matters relative to any Claim or Potential Claim as if coverage under this Policy
                were not otherwise afforded, including but not limited to not admitting any liability for, settling
                any Claim, or incurring any Defense Expenses without the prior written consent of the
                Insurer, which consent shall not be unreasonably withheld.
D.     ALLOCATION – If there is a Claim under any Coverage Part in which the Insured incurs an amount
       consisting of both covered Loss and uncovered loss because such Claim includes both covered and
       uncovered matters or covered and uncovered parties, the Insured and the Insurer agree to use their
       best efforts to determine a fair and proper allocation of all such amounts. In making such a
       determination, the parties will take into account the relative legal and financial exposures of, and relative
       benefits obtained in connection with the defense and settlement of the Claim by the Insured Persons,
       the Company, and others not insured under the applicable Coverage Part. In the event that an
       allocation cannot be agreed to, then the Insurer will be obligated to make an interim payment of the
       amount of Loss which the parties agree is not in dispute until a final amount is agreed upon or
       determined pursuant to the provisions of the applicable Coverage Part and applicable law.
D.     ARBITRATION – If the Insured and the Insurer cannot agree on an allocation of Defense
       Expenses, if requested by the Insured, the Insurer shall submit the allocation dispute to binding
       arbitration. In such case:
       1.       no presumption as to allocation shall exist in any arbitration, suit or other proceeding; and
       2.       the Insurer shall advance on a current basis Defense Expenses which the Insurer believes to
                be covered under this Policy until a different allocation is negotiated, arbitrated or judicially
                determined.
       The rules of the American Arbitration Association shall apply except with respect to the selection of the
       arbitration panel. The arbitration panel shall consist of one arbitrator selected by the Insured, one
       arbitrator selected by the Insurer, and a third independent arbitrator selected by the first two
       arbitrators. In any such arbitration, each party will bear its own legal fees and expenses. Any negotiated,
       arbitrated or judicially determined allocation of Defense Expenses will be applied retroactively to all
       Defense Expenses, notwithstanding any prior advancement to the contrary. Any allocation or
       advancement of Defense Expenses shall not apply to or create any presumption with respect to the
       allocation of other Loss arising from such Claim or any other Claim.

     SECTION VII – ACQUISITIONS, CREATIONS AND ASSET PURCHASES/ASSUMPTIONS

A.     NOTICE/COVERAGE REQUIREMENTS - If, during the Policy Period, the Company:
       1.       acquires or forms a Subsidiary;



PL990158 0414                                                                                               Page 6
            Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 27 of 99


       2.       acquires any entity by such entity's merger into, or consolidation with, the Company such that
                the Company is the surviving entity; or
       3.       purchases assets or assumes liabilities of another entity, without acquiring such entity,
       then coverage will be provided for such acquired or formed entity and its Insured Persons, or for such
       purchased assets or assumed liabilities for ninety (90) days, subject to all other terms and conditions of
       this Policy, provided that the:
       a.       Company provides written notice to the Insurer and any requested information regarding the
                transaction within such ninety (90) day period;
       b.       Company accepts any special terms, conditions and/or Exclusions and pays any additional
                premium required by the Insurer; and
       c.       Insurer, at its sole discretion, agrees in writing to provide such coverage.
B.     AUTOMATIC COVERAGE EXTENSION - The ninety (90) day limitation of coverage and ninety (90) day
       notice requirement referenced in A. above shall not apply, if during the Policy Period the Company:
       1.       creates or acquires a Subsidiary or purchases or assumes assets or liabilities totaling less than
                thirty percent (30%) of the total assets of the Company (as reflected in the Company’s most
                recent fiscal year-end financial statement at time of the transaction); or
       2.       the purchase of assets or assumption of liabilities occurs less than ninety (90) days prior to the
                end of the Policy Year.
C.     MERGED/ACQUIRED ENTITIES - Any coverage afforded under this section will be subject to all other
       terms and conditions of this Policy and will only extend to Claims made for Wrongful Acts relating to,
       or in connection with, such acquisition, formation, purchased assets, or assumed liabilities committed
       after such acquisition, formation, purchase of assets, or assumption of liabilities, unless the Insurer
       agrees in writing to provide for Wrongful Acts committed before such acquisition, creation, purchase of
       assets, or assumption of liabilities.

                SECTION VIII–CANCELLATION, NON-RENEWAL AND CONVERSION

 A.    CANCELLATION
       1.       This Policy may be cancelled at any time by the Parent Company for itself and as agent for all
                other Insureds, by providing written notice to the Insurer. If this Policy is canceled by the
                Parent Company, the Insurer shall retain the customary short rate portion of the premium. If
                this Policy is canceled by the Insurer, the Insurer shall retain the pro-rata portion of the
                premium. Payment or tender of any unearned premium by the Insurer to the Parent Company
                shall not be a condition precedent to the effectiveness of cancellation, but such payment shall be
                made as soon as practicable.
       2.       The Insurer may cancel this Policy by mailing or delivering to the Parent Company written
                notice of cancellation stating when, not less than sixty (60) days thereafter, such cancellation
                shall be effective. The Insurer may cancel this Policy for nonpayment of premium, in which
                case ten (10) days written notice shall be given to the Parent Company. If the Insurer cancels
                the Policy for nonpayment of premium, the Policy may, at the Insurer's option, be deemed
                void from its inception.
 B.    NON-RENEWAL - If the Insurer elects not to renew this Policy, the Insurer shall provide the Parent
       Company for itself and as agent for all Insureds, with no less than sixty (60) days advance written
       notice of when the non-renewal shall become effective and the reason(s) for such action.
 C.    CONVERSION - Upon the occurrence of any of the following events, this Policy shall continue in full
       force and effect with respect to Claims for Wrongful Acts committed or allegedly committed before
       such event, but coverage shall cease with respect to Claims for such Wrongful Acts committed or
       allegedly committed after such event (herein called the Conversion Period):



PL990158 0414                                                                                               Page 7
              Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 28 of 99


         1.      Financial Insolvency of the Company or any Subsidiary comprising more than fifty percent
                 (50%) of the Company's total assets;
         2.      Change of Control; or
         3.      the Company or any Subsidiary ceasing to engage actively in its primary business.
         Pursuant to this Conversion Period, this Policy may not be cancelled and the entire premium shall be
         deemed fully earned. If the Extended Reporting Period is elected, it will run concurrently with the
         Conversion Period.
         In the event of Financial Insolvency or sale of a Subsidiary comprising less than fifty percent (50%)
         of the Parent Company's total assets, this Conversion Period provision shall apply only to the
         Subsidiary and its Insured Persons and the Policy shall continue in full force with respect to all other
         Insureds.
     D. NOTICES - The Insurer will mail any cancellation or non-renewal notice to the mailing address shown
        in Item 1.(a) of the Declarations Page. If notice is mailed, proof of mailing will be sufficient proof of
        notice. If the period of limitation relating to the giving of notice is prohibited or made void by any law,
        such period shall be amended so as to be equal to the minimum period of limitation permitted by such
        law.

                         SECTION IX - EXTENDED REPORTING PERIOD (ERP)

A.       ERP AVAILABILITY - If the Company or the Insurer cancels or nonrenews this Policy, or if the
         Policy converts subject to Section VIII C.2., the Insured shall have the right to purchase the Extended
         Reporting Period. At any time prior to or within sixty (60) days after the effective date of cancellation,
         non-renewal or conversion, the Insured may give the Insurer written notice that it desires to purchase
         the Extended Reporting Period. It is understood and agreed that the Extended Reporting Period shall not
         be made available if:
         1.      the Insurer cancels this Policy due to nonpayment of premium; or
         2.      there is an offer by the Insurer to renew this Policy under terms, conditions, Limits of Liability,
                 Retentions or premiums different from those applicable to the expiring Policy as such offer of
                 coverage shall not constitute a refusal to renew.
B.       ERP TERMS AND CONDITIONS – The Extended Reporting Period shall be subject to the following
         terms and conditions:
         1.      The coverage term for the Extended Reporting Period shall be the period set forth in Item 6. of
                 the Declarations Page. The premium due will be calculated by multiplying the fully annualized
                 premium for such coverage by the percentage reflected in Item 6.(a) of the Declarations Page
                 and the entire premium will be deemed to have been fully earned at the commencement of such
                 Extended Reporting Period.
         2.      There is no separate or additional Limit of Liability for the Extended Reporting Period. The
                 Insurer’s maximum Limit of Liability for all Claims made during such Extended Reporting Period
                 will be the remaining portion of the applicable Limit of Liability set forth in the Declarations Page
                 for the Policy Year immediately preceding the effective date of the Extended Reporting Period.
         3.      The Extended Reporting Period is not an extension of coverage, but rather an extended period to
                 report Claims first made during the Extended Reporting Period resulting from Wrongful Acts
                 that occurred prior to the effective date of cancellation, nonrenewal or conversion and otherwise
                 covered under this Policy. Notice of facts and circumstances that may give rise to a Claim,
                 pursuant to Section V.B., must be given during the Policy Period and shall not be effective if
                 given during the Extended Reporting Period.

                        SECTION X– REPRESENTATIONS AND SEVERABILITY



PL990158 0414                                                                                                Page 8
            Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 29 of 99


A.     REPRESENTATIONS - It is agreed and represented that the particulars and statements contained in the
       Application are the basis of this Policy and are to be considered as incorporated into and constituting a
       part of this Policy. By acceptance of this Policy, the Insured agrees that:

       1.       each Application shall be construed as a separate Application for coverage by each Insured
                Person;
       2.       this Policy shall not be deemed to be a series of individual insurance contracts with the
                Company and each of the Insured Persons; and
       3.       the statements in the Application are their representations, and that this Policy is issued in
                reliance upon the truth of such representations. No misrepresentation by the Insured shall be
                deemed material unless knowledge by the Insurer of the facts misrepresented would have led
                to the refusal by the Insurer to issue or renew the Policy for the premium charged and with the
                same terms and conditions as offered based on the Insurer's uniformly applied underwriting
                guidelines.
B.     SEVERABILITY - The Insureds agree that in the event the Application contains material
       misrepresentations made with the actual intent to deceive, no coverage will be provided under this
       Policy with respect to:
       1.       any Insured Person who knew of any fact, circumstance or situation that was not truthfully
                disclosed in the Application;
       2.       the Company, to the extent the Company indemnifies the Insured Person reflected in Item 1
                above; or
       3.       the Company, to the extent coverage is granted to the Company by any Insuring Agreement
                made a part of this Policy, if any past, present, or future chief financial officer, in-house counsel,
                chief executive officer, President or Chairman of the Board of the Company, or any person
                holding any equivalent position within the Company (regardless of title), knew of any fact,
                circumstance or situation that was not truthfully disclosed in the Application.
       The foregoing conditions shall apply whether or not the Insured Person actually knew that the
       misrepresentation or untruthful disclosure was made in the Application for coverage.
C.     SEVERABILITY OF EXCLUSIONS - With respect to the Exclusions contained in each Coverage Part,
       in order to determine if coverage is available:
       1.       no Wrongful Act, fact pertaining to, or knowledge possessed by any Insured Person will be
                imputed to any other Insured Person; and
       2.       all facts pertaining to and knowledge possessed by any past, present, or future chief financial
                officer, in-house counsel, chief executive officer, President or Chairman of the Board of the
                Company, or any person holding any equivalent position within the Company (regardless of
                title), shall be imputed to the Company with respect to the Fraud/Illegal Profit and Violation of
                Law Exclusion.

                           SECTION XI - OTHER TERMS AND CONDITIONS

A.     ACTION AGAINST THE INSURER - No action shall be taken against the Insurer unless, as a
       condition precedent, there shall have been full compliance with all of the terms of this Policy, and until
       the Insured’s obligation to pay shall have been finally determined either by adjudication or by written
       agreement of the Insureds, the claimant and the Insurer.
       No person or organization shall have any right under this Policy to join the Insurer as a party to any
       action against any Insured nor shall the Insurer be impleaded by the Insureds or their legal
       representatives.
 B.    ASSIGNMENT AND ACCEPTANCE - By acceptance of this Policy, the Insured and the Insurer agree
       that this Policy, the Application, and any written endorsements attached thereto constitute the entire


PL990158 0414                                                                                                Page 9
           Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 30 of 99


       agreement between the parties. Assignment of interest under this Policy shall not bind the Insurer until
       its consent is endorsed hereon.
C.     AUTHORIZATION CLAUSE - By acceptance of this Policy, the Insureds agree that the Parent
       Company will act on behalf of all Insureds for all purposes under this Policy including, but not limited
       to, giving and receiving of all notices and correspondence, cancellation, nonrenewal or termination of this
       Policy, payment of premiums, the negotiation and acceptance of endorsements, and receipt of any
       return premiums that may be due under this Policy.
D.     CHANGES - Notice to any agent or knowledge possessed by any agent or other person acting on behalf
       of the Insurer shall not effect a waiver or a change in any part of this Policy or estop the Insurer from
       asserting any right under the terms of this Policy, nor shall the terms, conditions and limitations of this
       Policy be waived or changed, except by written Endorsement issued to form a part of this Policy.
 E.    CONFORMITY TO STATUTE - The terms of this Policy that are in conflict with the terms of any
       applicable laws construing this Policy are hereby amended to conform to such laws.
F.     COVERAGE PART COORDINATION – Subject always to the applicable Limit of Liability, should two or
       more Coverage Parts apply to the same Claim, the Insurer will not pay more than the actual Loss
       incurred by the Insureds.
G.     COVERAGE TERRITORY - Coverage under this Policy shall extend to Wrongful Acts taking place or
       Claims made anywhere in the world.
H.     INSOLVENCY/BANKRUPTCY - The Financial Insolvency of the Insured or of the estate of such
       Insured shall not release the Insurer from its obligations nor deprive the Insurer of its rights under
       this Policy.
I.     LIBERALIZATION – If during the Policy Period, the Insurer is required, by law or by insurance
       supervisory authorities of the state in which this Policy was issued, to make any changes in the form of
       this Policy, by which the insurance afforded by this Policy could be extended or broadened without
       increased premium charge by endorsement or substitution of form, then such extended or broadened
       insurance will inure to the benefit of the Insured as of the date the revision or change is approved for
       general use by the applicable department of insurance.
 J.    STATE AMENDATORY DISCREPANCY PROVISION - In the event that there is a discrepancy
       between a state amendatory endorsement attached to this Policy and any term or condition of this
       Policy, then it is understood and agreed that, where permitted by law, the Insurer shall apply the most
       favorable terms in the contract to the Insured, whether those terms and conditions are in either the
       amendatory or the Policy.
K.     LOSS INFORMATION - The Insurer will provide Loss Information to the Company within ten (10)
       days of the Company's request or, if required by statute, at the same time as any notice of cancellation
       or nonrenewal of this Policy.
L.     SUBROGATION - In the event of payment under this Policy, the Insurer is subrogated to all of the
       lnsured’s rights of recovery against any person or organization to the extent of such payment and the
       Insured agrees to execute and deliver instruments and papers and do whatever else is necessary to
       secure such rights. The Insured will do nothing to prejudice such rights.
M.     TITLES OF PARAGRAPHS - The descriptions in the headings and sub-headings of this Policy are
       inserted solely for convenience or reference and form no part of the terms and conditions of coverage.




PL990158 0414                                                                                            Page 10
            Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 31 of 99



 AMTRUST                FI Advantage


                                                                                Policy No. WDO1429740 00

                                      Wesco Insurance Company
                         (A Stock Insurance Company, herein called the Insurer)

                                 FINANCIAL INSTITUTION
                   DIRECTORS & OFFICERS (D&O) LIABILITY COVERAGE PART


This is a claims-made policy. Defense Expenses are included within the Limit of Liability.
Amounts incurred as Defense Expenses will reduce the Limit of Liability available to pay
judgments or settlements. Please read this Policy carefully!

In consideration of the premium paid and in reliance upon all statements made and information contained in the
Declarations Page and Application, the Insurer and the Insureds agree that coverage will be provided subject
to all of the terms, conditions and limitations of this Policy, as follows:

                                SECTION I - INSURING AGREEMENTS

A.     INSURED PERSONS LIABILITY COVERAGE - The Insurer will pay on behalf of the Insured
       Persons, Loss resulting from any Claim first made during the Policy Period or Extended Reporting
       Period (if exercised) against the Insured Persons for any Wrongful Act, except for Loss the
       Company pays as indemnification.
B.     COMPANY INDEMNIFICATION COVERAGE - The Insurer will pay on behalf of the Company, Loss
       resulting from any Claim first made during the Policy Period or Extended Reporting Period (if
       exercised) against the Insured Persons for which the Company has agreed to or is legally permitted
       or required by law to indemnify the Insured Persons for any Wrongful Act.
C.     COMPANY LIABILITY COVERAGE - The Insurer will pay on behalf of the Company:
       1.       Loss resulting from any Claim first made during the Policy Period or Extended Reporting
                Period (if exercised) against the Company for any Wrongful Act not covered in any other
                Coverage Part made part of this Policy; and
       2.       Investigation Expense for any Shareholder Derivative Demand first made during the
                Policy Period or Extended Reporting Period (if exercised) against the Company for any
                Wrongful Act. The Insurer’s maximum sublimit of liability for all Investigation Expenses
                will be the Investigation Expense Sublimit of Liability set forth in Item 4. of the Declarations
                Page.

     SECTION II – SUPPLEMENTAL LIMIT OF LIABILITY FOR NON-INDEMINFIABLE LOSS

The Insurer will provide the Insured Persons with a supplemental Limit of Liability, which shall not exceed
$1,000,000 per Policy Year for Loss resulting from Claims against the Insured Persons to which Section I.A.
of this Coverage Part is applicable. This supplemental Limit of Liability is available only after the Insuring
Agreement I.A. Limit of Liability as set forth in the Declarations has been exhausted.




PL990159 0414                                                                                           Page 1
            Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 32 of 99




            SECTION III – NOT-FOR-PROFIT DIRECTORSHIP LIABILITY COVERAGE

Subject to the provisions applicable to this Coverage Part, coverage is afforded for Loss resulting from any
Claim for a Wrongful Act committed by Insured Persons in an Outside Capacity. Such coverage shall be
specifically excess of any indemnity and insurance available from or provided by the Outside Organization.
If any Claim against the Insured gives rise to an obligation both under this Coverage Part and under any
other coverage or policy of insurance issued by the Insurer or any of its affiliates to any Outside
Organization, the Insurer’s maximum Aggregate Limit of Liability under all such policies for all Loss, including
Defense Expenses, for such Claim will not exceed the largest single available Limit of Liability under any such
coverage.

                                      SECTION IV - DEFINITIONS

In addition to the Definitions set forth in General Terms and Conditions Applicable to All Coverage Parts, the
following Definitions shall apply to all Insuring Agreements contained herein.
Claim means:
1.     a written demand, other than a Shareholder Derivative Demand, for monetary damages or non-
       monetary relief;
2.     a civil proceeding commenced by the service of a complaint or similar pleading;
3.     a criminal proceeding commenced by a filing of charges or the return of an indictment;
4.     a formal administrative or regulatory proceeding commenced by a filing of a notice of charges, formal
       investigative order, service of summons, or similar document;
5.     an arbitration, mediation or similar alternative dispute resolution proceeding if the Insured is obligated
       to participate in such proceeding or if the Insured agrees to participate in such proceeding, with the
       Insurer’s written consent, such consent not to be unreasonably withheld;
6.     service of a subpoena on an Insured Person identified by name if served upon such person pursuant to
       a formal investigative order by the Securities and Exchange Commission;
7.     a Shareholder Derivative Demand solely with respect to Insuring Agreement C.2. only; or
8.     a written request to toll or waive a statute of limitations relating to a potential civil or administrative
       proceeding,
against an Insured for a Wrongful Act. Claim does not include any labor or grievance arbitration or other
proceeding pursuant to a collective bargaining agreement.
Employee means any natural person whose labor or service was, is or shall be engaged and directed by the
Company including full-time, part-time, seasonal, leased and temporary employees as well as volunteers.
Employee shall not include any Independent Contractor.
Executive means any natural person who was, is or shall be a duly elected or appointed:
1.     director, officer, or member of the board of managers or management committee of the Company;
2.     in-house general counsel or risk manager of the Company; or
3.     manager of a Company organized outside the United States of America, if such position is equivalent to
       those specified in 1. or 2. above.
Insured means the Insured Persons and the Company.
Insured Person means any:
1.     Executive; or

PL990159 0414                                                                                            Page 2
                 Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 33 of 99


     2.      Employee.
     Investigation Expense means the reasonable and necessary fees, costs and expenses incurred by the
     Company, including its board of directors, board of managers or any duly constituted committee thereof, in
     connection with any investigation or evaluation by the Company of any Shareholder Derivative Demand.
     Loss means Defense Expenses and any amount the Insured is legally obligated to pay resulting from a
     Claim, including damages, judgments, settlements, punitive or exemplary damages or the multiple portion of any
     multiplied damage award (if insurable under the applicable law most favorable to the insurability of punitive,
     exemplary, or multiplied damages), prejudgment and post judgment interest, and legal fees and expenses
     awarded pursuant to a court order or judgment. Loss shall not include:
     1.      payroll or other taxes;
     2.      criminal or civil fines or penalties imposed by law;
3.   any unpaid, unrecoverable or outstanding amounts resulting from a loan, lease or extension of credit to
     any borrower, including unpaid, unrecoverable or outstanding amounts resulting from a loan, lease or
     extension of credit which has been sold as a participation to other financial institutions;
     4.      any increased amount in the price or consideration paid, or proposed to be paid, for any actual or
             attempted acquisition of all or substantially all of the ownership interest in, or assets of, an entity, or
             merger with any entity;
     5.      any restitution, disgorgement, or payment of similar payments including but not limited to the return of
             fees, commissions or charges for the Company's services;
6.   costs to comply with any non-monetary or injunctive relief of any kind or any agreement to provide such
     relief, including but not limited to any damages, costs or expenses incurred in making an accommodation
     for any disabled person pursuant to the Americans with Disabilities Act or any similar federal, state or
     local laws, or in complying with any other federal, state or local laws of any kind; or
     7.      any matters which are uninsurable under the law pursuant to which this Policy shall be construed.
     Where the Company reasonably determines that punitive, exemplary or multiple damages are insurable under
     the applicable law, the Insurer shall not challenge that interpretation of insurability.
     Outside Organization means any:

     1.      not-for-profit corporation, community chest, fund or foundation that is exempt from federal income tax as
             an organization described in Section 501(c)(3), 501(c)(4), or 501(c)(10) of the Internal Revenue Code of
             1986, as amended; or

     2.      organization established for a religious or charitable purpose under any non-for-profit statute.
     Outside Capacity means service by an Insured Person on the board of directors, board of trustees, board of
     managers, or functional equivalent thereof, in any Outside Organization, provided and so long as such service
     is at the specific request, consent or direction of the Company.
     Shareholder Derivative Demand means any written demand on behalf of the Company brought and
     maintained by any securities holder of the Company and made upon the board of directors or board of
     managers of the Company, or any functional equivalent board, to bring a civil proceeding in a court of law
     against any Insured Person for a Wrongful Act, but only if such demand is brought and maintained without
     the active solicitation, assistance, or participation of any Insured.
     Whistleblower Activity means activity protected under:
     1.     18 U.S.C. 1514A(a) (whistleblower protection pursuant to section 806 of the Sarbanes-Oxley Act of 2002,
            as amended), other than the activity of “filing or the causing to be filed” any proceeding as specified
            under section 1514A(a)(2) and any other activity specified in section 1514A(a)(2) that is engaged in on a
            voluntary basis; or



     PL990159 0414                                                                                              Page 3
            Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 34 of 99


2.     any similar whistleblower protection provision of any applicable federal, state, local, or foreign securities
       law or regulation that affords protection to a natural person, other than the filing, causing to be filed, or
       any other activity similar to the type specified in section 18 U.S.C. 1514A(a)(2) that is engaged in on a
       voluntary basis.
An Insured Person’s Whistleblower Activity alone will not be considered the active solicitation, assistance,
or participation of an Insured.
Wrongful Act as used in this Coverage Part means any actual or alleged:
1.      error, omission, misstatement, misleading statement, neglect or breach of duty by Insured Persons in
        their capacity as such or, with respect to Insuring Agreement C., by the Company; or
2.      matter claimed against the Insured Persons solely by reason of their serving in such capacity.

                                        SECTION V – EXCLUSIONS

A.              EXCLUSIONS APPLICABLE TO ALL INSURING AGREEMENTS

Bodily & Personal Injury/Property Damage - The Insurer shall not be liable to pay any Loss in connection
with any Claim made against any Insured for bodily injury, personal injury, emotional distress, mental anguish,
humiliation, sickness, disease or death of any person, injury resulting from libel, slander, defamation or
disparagement, violation of a person’s right of privacy, or damage to, loss or use or destruction of any tangible
property.
Bonding/Insurance Company - The Insurer shall not be liable to pay any Loss in connection with any
Claim made against any Insured brought directly or indirectly by or for the benefit of any insurance carrier or
bond carrier of the Company, or any affiliate of the Company, regardless in whose name such Claim is actually
made.
Contractual Liability - The Insurer shall not be liable to pay any Loss in connection with any Claim made
against any Insured:
1.      arising from, based upon, or attributable to the assumption of any liability to defend, indemnify, or hold
        harmless any person or entity, other than an Insured Person, under any written contract or agreement,
        unless such liability would be imposed regardless of the existence of such contract or agreement; or
2.      for the intentional breach, in fact, of any express written or oral contract or amounts the Company is
        obligated to pay pursuant to any express written or oral contract. If it is established in fact that such
        Claim involves intentional breach of contract, the Insured agrees to reimburse Defense Expenses.
Discrimination or Harassment/Fair Labor Standards Act - The Insurer shall not be liable to pay any Loss
in connection with any Claim made against any Insured by any third party or Independent Contractor for
any actual or alleged:
1.      discrimination or harassment including but not limited to violation of any federal, state or local laws
        (whether common-law or statutory) concerning discrimination including the Americans with Disabilities
        Act of 1992, the Civil Rights Act of 1991, the Age Discrimination in Employment Act of 1967, Title VII of
        the Civil Rights Act of 1964 and the Civil Rights Act of 1866; or
2.      violations of the Fair Labor Standards Act as amended, or any federal, state, or local statutory law or
        common law anywhere in the world governing wage, hour and payroll policies.
Employment-Related Wrongful Acts - The Insurer shall not be liable to pay any Loss in connection with
any Claim made against any Insured arising from, based upon, or attributable to any employment-related
Wrongful Act.
ERISA - The Insurer shall not be liable to pay any Loss in connection with any Claim made against any
Insured for any actual or alleged violation of the responsibilities, obligations or duties imposed upon fiduciaries
by ERISA or any similar law.


PL990159 0414                                                                                              Page 4
            Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 35 of 99


Fraud/Illegal Profit and Violation of Law - The Insurer shall not be liable to pay any Loss in connection
with any Claim made against any Insured arising from, based upon, or attributable to:
1.      the gaining of any profit, remuneration or pecuniary advantage to which such Insured is not legally
        entitled; or
2.      any fraudulent or criminal Wrongful Act with actual knowledge of its wrongful nature or with intent to
        cause damage by such Insured,
as evidenced by a final adjudication by a judge, jury or arbitrator in any proceeding.
Insured vs. Insured - The Insurer shall not be liable to pay any Loss in connection with any Claim made
against any Insured by, on behalf of, or at the behest of any Insured in any capacity; provided, however, that
this exclusion will not apply to:
1.      any Claim brought or maintained by a securities holder of the Company as a derivative action on behalf
        of the Company; provided such Claim is brought independently of, and totally without the solicitation,
        assistance, participation, or intervention of any Insured Person unless such participation arises solely
        out of an Insured Person’s Whistleblower Activity;
2.      any Claim that is in the form of a cross claim, third party claim or other claim for contribution or
        indemnity which is part of and results directly from a Claim which is not otherwise excluded by the terms
        of the Policy;
3.      any Claim brought or maintained by a former Executive who has not served as an Executive for at
        least four (4) years preceding the date the Claim is first made; provided such Claim is brought
        independently of, and totally without the solicitation, assistance, participation, or intervention of any
        Insured Person;
4.      any Claim brought or maintained by an Insured Person solely as a customer of the Company;
        provided such Claim is brought independently of, and totally without the solicitation, assistance,
        participation, or intervention of any other Insured;
5.      any Claim brought or maintained by any bankruptcy or insolvency trustee, examiner, receiver, any
        assignee of such trustee, examiner or receiver, any conservator, liquidator, rehabilitator or similar official
        appointed by the court to take control of, supervise, manage or liquidate the Company; or
6.      any Claim brought by or maintained by any Regulatory Agency; provided such Claim is brought
        independently of, and totally without the solicitation, assistance, participation, or intervention of any
        other Insured.
Mutual Conversion - The Insurer shall not be liable to pay any Loss in connection with any Claim made
against any Insured arising from, based upon, or attributable to the Company converting from a mutual
company to a stock company or the offering or sale of common stock or other securities in connection therewith.
If at least thirty (30) days prior to such transaction, the Insurer receives notice of the proposed transaction and
any additional information requested by the Insurer, the Company may request a proposal for coverage subject
to any additional terms and conditions, and payment of any additional premium, described in such proposal.
Non-Subsidiary Wrongful Acts - The Insurer shall not be liable to pay any Loss in connection with any
Claim made against any Insured arising from, based upon, or attributable to any Wrongful Act by any entity
that is, or was, a Subsidiary, or by any Insured Person of such entity, occurring at any time during which such
entity was not a Subsidiary.
Not For Profit Outside Organization vs. Insured Persons - The Insurer shall not be liable to pay any Loss
in connection with any Claim made against any Insured by or on behalf of, or in the name or right of, any
Outside Organization against an Insured Person for a Wrongful Act in his or her Outside Capacity with
respect to such Outside Organization; provided, however, that this exclusion will not apply to any Claim
brought derivatively by a security holder of such Outside Organization in his or her capacity as such.
Outside Capacity Exclusion - The Insurer shall not be liable to pay any Loss in connection with any Claim
made against any Insured involving any Insured Person in their capacity as an employee, director, officer, trustee,
governor, member of the board of managers, or any equivalent position, of any entity other than the Company or an
PL990159 0414                                                                                                Page 5
            Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 36 of 99


Outside Organization.
Past Acts - The Insurer shall not be liable to pay any Loss in connection with any Claim made against any
Insured arising from, based upon, or attributable to any actual or alleged Wrongful Acts committed on or
before the Retroactive Date set forth in Item 5.(b) of the Declarations Page or any Wrongful Acts occurring
prior to such date which together with Wrongful Acts occurring on or after such date would constitute
Interrelated Wrongful Acts.
Pollution - The Insurer shall not be liable to pay any Loss in connection with any Claim made against any
Insured arising from, based upon, or attributable to:
1.      the actual, alleged or threatened discharge, dispersal, seepage, migration, release or escape of any
        Pollutant; or
2.      any request, demand, order, or statutory or regulatory requirement that any Insured or others test for,
        monitor, clean up, remove, contain, treat, detoxify or neutralize, or in any way respond to, or assess the
        effects of, any Pollutant;
provided, however, that this exclusion shall not apply to Loss covered under Insuring Agreement A. or any
Shareholder Derivative Demand covered under Insuring Agreement C.2.
Prior Knowledge/Litigation - The Insurer shall not be liable to pay any Loss in connection with any Claim
made against any Insured arising from, based upon, or attributable to:
1.      any fact, circumstance, situation, or event that is or reasonably would be regarded as the basis for a
        Potential Claim about which any Executive had knowledge prior to the date of the initial Application
        for coverage; or
2.      any prior or pending civil, criminal, administrative or regulatory proceeding initiated against any Insured
        prior to the applicable Prior and Pending Litigation Date(s) set forth in Item 5. (a) of the Declarations
        Page, or arising out of or in any way involving the same or substantially the same fact, circumstance,
        situation or Wrongful Act underlying or alleged in such prior or pending civil, criminal, administrative or
        regulatory proceeding.
Prior Notice - The Insurer shall not be liable to pay any Loss in connection with any Claim made against any
Insured arising from, based upon, or attributable to any Wrongful Act or any Wrongful Act which is part of
any Interrelated Wrongful Acts, or any fact, circumstance or situation, which has been the subject of any
notice given to any carrier other than the Insurer under any similar insurance policy providing protection for any
Insured.
Professional Services - The Insurer shall not be liable to pay any Loss in connection with any Claim made
against any Insured arising from, based upon, or attributable to those services performed by or on behalf of the
Insured for a customer or borrower of the Company.
Securities Offering - The Insurer shall not be liable to pay any Loss in connection with any Claim made
against any Insured arising from, based upon, or attributable to:
a.      the public offer, sale, solicitation or distribution of securities issued by the Company; or
b.      the violation of any federal, state, local or provincial statute relating to securities, including the Securities
        Act of 1933 and the Securities and Exchange Act of 1934, or any rules or regulations promulgated
        thereunder;
provided, however, that this exclusion will not apply to:
1.      any offer, purchase or sale of securities, whether debt or equity, in a transaction that is exempt from
        registration under the Securities Act of 1933 (an “Exempt Transaction”); or
2.      to the extent that such Claim is made by a security holder of the Company for the failure of the
        Company to undertake or complete an initial public offering or sale of securities of the Company.
If at least thirty (30) days prior to any securities offering by the Company, other than pursuant to an Exempt
Transaction, the Insurer receives notice of the proposed transaction and any additional information requested by


PL990159 0414                                                                                                   Page 6
             Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 37 of 99


the Insurer, the Company may request a proposal for coverage subject to any additional terms and conditions,
and payment of any additional premium, described in such proposal.
Short-Swing Profit - The Insurer shall not be liable to pay any Loss in connection with any Claim made
against any Insured arising from, based upon, or attributable to an accounting of profits made from the
purchase and sale or sale and purchase of Company securities by the Insured Persons within the meaning of
Section 16(b) of the Securities Exchange Act of 1934, as amended, or similar provisions of any state statutory law
or common law.
B.    EXCLUSIONS APPLICABLE TO INSURING AGREEMENT C.
Intellectual Property/Infringement Exclusion - The Insurer shall not be liable under Insuring Agreement
C. to pay any Loss in connection with any Claim made against the Company arising from, based upon or
attributable to any actual or alleged infringement or violation of any intellectual property right or law, including
copyright, title, slogan, patent, service mark, service name, trade dress, trade name, trade secret, or trademark.
Mechanical Malfunction - The Insurer shall not be liable under Insuring Agreement C. to pay any Loss in
connection with any Claim made against the Company arising from, based upon, or attributable to the
mechanical or electronic failure, breakdown or malfunction of any machine or system of machines.
Plagiarism/Patent/Trademark/Product Defect - The Insurer shall not be liable under Insuring Agreement
C. to pay any Loss in connection with any Claim made against the Company arising from, based upon, or
attributable to:
1.      any plagiarism;
2.      any misappropriation, infringement or violation of copyright, patent, trademark, service mark, trade
        name, trade secret or any other intellectual property rights; or
3.      any malfunction of any product or failure of any product to perform in any manner as a result of any
        defect, deficiency, inadequacy or dangerous condition in such product or in its design or manufacture.
Safe Deposit Box - The Insurer shall not be liable to pay any Loss in connection with any Claim made
against any Insured arising from, based upon, or attributable to any safe deposit box operations of the
Company.
Unfair Trade Practices - The Insurer shall not be liable under Insuring Agreement C. to pay any Loss in
connection with any Claim made against the Company arising from, based upon, or attributable to:
1.      charges of price fixing, restraint of trade, monopolization or unfair trade practice; or
2.      any actual or alleged violation of:
        a.      the Federal Trade Commission Act, the Sherman Act, the Clayton Act, or any federal statutory
                provision regarding anti-trust, monopoly, price fixing, price discrimination, predatory pricing or
                restraint of trade.

                           SECTION VI – OTHER TERMS AND CONDITIONS

This Section will supplement and not replace, Section XI., entitled “Other Terms And Conditions” contained in the
General Terms and Conditions Applicable to All Coverage Parts.

A.      ORDER OF PAYMENTS – If Loss for any Claim exceeds, or may exceed, the remaining applicable
        Limit of Liability as set forth in Item 4. of the Declarations Page:
        1.      the Insurer will first pay Loss for such Claim to which Insuring Agreement A. of this Coverage
                Part applies; then
        2.      to the extent that any amount of the applicable Limit of Liability will remain available, the
                Insurer will pay Loss for such Claim to which such other Insuring Agreements of this
                Coverage Part may apply.


PL990159 0414                                                                                              Page 7
           Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 38 of 99


      Upon written request by the Executive of the Company, the Insurer will either pay or withhold
      payment of Loss under the other applicable Insuring Agreements of this Coverage Part. In the event of
      a written request to withhold payment, the Insurer will make any future payment only for Loss to which
      Insuring Agreement A. of this Coverage Part applies, unless otherwise so instructed upon written
      request by and through an Executive of the Company.
B.    OTHER INSURANCE – This Coverage Part shall not be subject to the terms of any other insurance.
      All Loss, including Defense Expenses, payable under this Policy shall be excess to:
      1.        any other valid and collectible insurance available to any Insured, including any insurance under
                which there is a duty-to-defend, unless such insurance is written specifically excess of this
                Coverage Part by reference in such other policy to the Policy Number assigned to this Policy;
                or
      2.        indemnification to which an Insured Person is entitled from any entity other than the
                Company.
C.    RETENTION - This Section will supplement, and not replace, Section III.B., entitled “Retention”
      contained in the General Terms and Conditions Applicable to All Coverage Parts.
      1.        No Retention will apply to Defense Expenses resulting from any Claim brought by any
                securities holder of the Company and the Insurer will reimburse the Company for any such
                Retention paid by the Company in connection with any such Claim, if:
                a.      there is a final adjudication of no liability obtained prior to or during trial, in favor of all
                        Insureds, by reason of a motion to dismiss or a motion for summary judgment or any
                        similar motion or process, after exhaustion of all appeals, or a final judgment of no
                        liability obtained after trial, in favor of all Insureds, after exhaustion of all appeals; or
                b.      the Claim is dismissed or there is a stipulation to dismiss such Claim with prejudice and
                        without the payment of any monetary consideration by the Insureds.
      2.        No Retention will apply to an Insured Person if indemnification by the Company is not
                permitted by law or if the Company is unable to make such indemnification solely by reason of
                its Financial Insolvency. The Company will be conclusively deemed to have indemnified all
                Insured Persons to the extent that the Company is permitted or required to indemnify them
                pursuant to law, common or statutory, or contract, or the charter or by-laws of the Company.
      In no event will a settlement of a Claim be considered a final adjudication of no liability for purposes of
      this subsection.
      As a condition of any reimbursement of the Retention as set forth above, the Insurer may require a
      written undertaking on terms and conditions satisfactory to the Insurer guaranteeing the repayment of
      such amounts in the event that such Claim is reinstituted after payment by the Insured.




PL990159 0414                                                                                                  Page 8
              Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 39 of 99


AMTRUST FI Advantage
                                                                                  POLICY NO. WDO1429740 00


                                           Wesco Insurance Company
                          (A Stock Insurance Company, herein called the Insurer)

                                     FINANCIAL INSTITUTION
                              PROFESSIONAL LIABILITY COVERAGE PART


  This is a claims-made policy. Defense Expenses are included within the Limit of Liability.
  Amounts incurred as Defense Expenses will reduce the Limit of Liability available to pay
  judgments or settlements. Please read this Policy carefully!

  In consideration of the premium paid and in reliance upon all statements made and information contained in
  the Declarations Page and Application, the Insurer and the Insured agree that coverage will be provided
  subject to all of the terms, conditions and limitations of this Policy, as follows:

                                   SECTION I-INSURING AGREEMENTS

  A.     LENDER LIABILITY - The Insurer will pay on behalf of the Insured, Loss resulting from any Claim
         first made during the Policy Period or Extended Reporting Period (if exercised), by or on behalf of a
         Borrower for a Wrongful Lending Act.
  B.     PROFESSIONAL SERVICES LIABILITY - The Insurer will pay on behalf of the Insured, Loss
         resulting from a Claim first made during the Policy Period or Extended Reporting Period (if
         exercised), by or on behalf of a customer of the Company for a Wrongful Professional Services
         Act.
  C.     TRUST SERVICES LIABILITY - The Insurer will pay on behalf of the Insured, Loss resulting from
         a Claim first made during the Policy Period or the Extended Reporting Period (if exercised), for a
         Wrongful Trust Services Act.

                                        SECTION II – DEFINITIONS

  In addition to the Definitions set forth in General Terms and Conditions Applicable to All Insuring Agreements,
  the following Definitions apply to all Insuring Agreements contained herein.
  Borrower means any individual or entity to which the Company extends, agrees to extend, or refuses to
  extend, a loan, lease or extension of credit; or any individual or entity that is a guarantor of any such loan,
  lease or extension of credit.
  Claim means:
  1.   a written demand for monetary damages or non-monetary relief;
  2.   a civil proceeding commenced by the service of a complaint or similar pleading;
  3.   a criminal proceeding commenced by a filing of charges or return of an indictment;
  4.   a formal administrative or regulatory proceeding commenced by a filing of charges, formal investigative
       order, service of summons, or similar document;
  5.   an arbitration, mediation or similar alternative dispute resolution proceeding if the Insured is obligated
       to participate in such proceeding or if the Insured agrees to participate in such proceeding, with the
       Insurer’s written consent, such consent not to be unreasonably withheld; or



  PL990163 0414                                                                                          Page 1
            Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 40 of 99




6.    a written request to toll or waive a statute of limitations relating to a potential civil or administrative
      proceeding,
against an Insured for a Wrongful Act including any appeal from such proceeding.
Depositor Services means only those services an Insured performs or is required to perform for a customer
of the Company in connection with establishing, maintaining, administering or servicing any FDIC or NCUA
insured deposit account or processing any transaction related to such account.
Employee means any natural person whose labor or service was, is or shall be engaged and directed by the
Company including full-time, part-time, seasonal, leased and temporary employees as well as volunteers.
Employee shall not include any Independent Contractor.
Executive means any natural person who was, is or shall be a duly elected or appointed:
1.    director, officer, or member of the board of managers or management committee of the Company;
2.    head of any Trust Department or Trust Company;
3.    branch manager of the Company; or
4.    manager of a Company organized outside the United States of America if such position is equivalent to
      those specified in 1. or 2. above.
Incidental Insurance Services means the sale of credit life or disability insurance incidental to the issuance
of a loan.
Insured means the Insured Persons and the Company.
Insured Person means any:
1.    Executive; or
2.    Employee.
Lending Services means:
1.    an agreement or refusal to grant or extend any loan, lease or extension of credit;
2.    the granting or extending of any loan, lease or extension of credit;
3.    Loan Servicing, but only for any loan, lease or extension of credit in which the Company has an
      ownership interest;
4.    the restructure, termination, transfer, repossession, or foreclosure of any loa n, lease or extension of
      credit; or
5.    the rendering or failure to render Incidental Insurance Services.
Loan Servicing means the administrative servicing of a loan, lease or extension of credit (not including
financing for investment banking, or leveraged or management buy-outs), including the following
administrative servicing activities: record keeping, billing and disbursements of principal or interest, receipt or
payment of insurance premiums and taxes, credit reporting or statements of a customer’s creditworthiness,
and determination of the depreciation amount of property (but not projections of, or an appraisal for, residual
or future value of property).
Loan Servicing shall not include the purchase, acquisition or sale of any loan, lease or extension of credit, the
restructuring, termination, transfer, repossession, or foreclosure of any such loan, lease or extension of credit,
or any act based upon or arising out of the operation or control of any entity or property that the Company
acquired as security or collateral for any loan, lease or extension of credit.
Loss means Defense Expenses and any amount the Insured is legally obligated to pay resulting from a
Claim, including damages, judgments, settlements, punitive or exemplary damages or the multiple portion of
any multiplied damage award (if insurable under the applicable law most favorable to the insurability of
punitive, exemplary, or multiplied damages), prejudgment and post judgment interest, and legal fees and
expenses awarded pursuant to a court order or judgment. Loss shall not include:

PL990163 0414                                                                                             Page 2
            Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 41 of 99


1.    payroll or other taxes;
2.    criminal or civil fines or penalties imposed by law;
3.    any unpaid, unrecoverable or outstanding amounts resulting from a loan, lease or extension of credit to
      any Borrower, including unpaid, unrecoverable or outstanding amounts resulting from a loan, lease or
      extension of credit which has been sold as a participation to other financial institutions;
4.    costs to comply with any non-monetary or injunctive relief of any kind or any agreement to provide such
      relief, including but not limited to any damages, costs or expenses incurred in making an accommodation
      for any disabled person pursuant to the Americans with Disabilities Act or any similar federal, state or
      local laws, or in complying with any other federal, state or local laws of any kind;
5.    the depreciation (or failure to appreciate) in value of any investment product, including but not limited to
      securities, commodities, currencies, options or futures due to market fluctuation unrelated to any
      Wrongful Act;
6.    any restitution, disgorgement, or payment of similar payments including, but not limited to the return of
      fees, commissions or charges for the Company's services; or
7.    any matters which are uninsurable under the law pursuant to which this Policy shall be construed.
Where the Company reasonably determines that punitive, exemplary or multiple damages are insurable under
the applicable law, the Insurer shall not challenge that interpretation of insurability.
Professional Services means services performed by the Insured for or on behalf of a customer of the
Company pursuant to a written agreement between such customer and the Company or, with respect to
Loan Servicing, pursuant to a written agreement between a third party and the Company:
1.    for a fee, commission or other monetary compensation;
2.    for no fee, commission or other monetary compensation, if a fee, commission, or other monetary
      compensation would usually be received by the Company for such services, but for business or other
      reasons is waived or not charged by the Company; or
3.    for other remuneration which inures to the benefit of the Company,
including Depositor Services, services performed outside of a Trust Department or a Trust Company by
any Insured in the capacity as a trustee, custodian or administrator of any individual retirement account
(IRA) or H.R. 10 Plan (Keogh Plan), or Loan Servicing that the Insured performs or is required to perform
for a customer of the Company on behalf of a third party.
Trust Company means any Company specifically formed for the purpose of performing wealth management
and fiduciary services, including agency services and acting as a trustee of, or administering, a trust or settling
estates.
Trust Department means a distinct unit or division of the Company specifically formed for the purpose of
performing wealth management and fiduciary services, including agency services and acting as a trustee of, or
administering, a trust or settling estates.
Trust Services means any of the following services performed by the Insured through a Trust Company,
Trust Department or Trust Subsidiary of the Company:
1.    administrator, custodian or trustee under any individual retirement account (IRA) or H.R. 10 Plan ( Keogh
      Plan);
2.    executor, administrator or personal representative of estates, administrator of guardianships, trustee
      under personal or corporate trust agreements, or conservator of any person;
3.    trustee under a pension, profit sharing, health and welfare or any other employee benefit plan or trust,
      other than an employee benefit plan or trust sponsored or established by the Company for its own
      Employees;
4.    custodian, depository or managing agent for securities or real property, manager of any personal
      property owned by others, attorney-in-fact, interest or dividend disbursing agent, transfer or paying


PL990163 0414                                                                                              Page 3
           Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 42 of 99


     agent, redemption or subscriptions agent, fiscal agent, tax withholding agent, registrar of securities,
     agent for voting securities, sinking fund agent, escrow agent or trustee under a corporate bond
     indenture; or
5.   trustee exercising any other trust or fiduciary powers permitted by law.
Wrongful Act means:
1.   solely with respect to Insuring Agreement A., any actual or alleged Wrongful Lending Act;
2.   solely with respect to Insuring Agreement B., any actual or alleged Wrongful Professional Services
     Act; or
3.   solely with respect to Insuring Agreement C., any actual or alleged Wrongful Trust Services Act.
Wrongful Lending Act means any actual or alleged act, error, omission, misstatement, misleading
statement or breach of duty or neglect by any Insured in rendering or failing to render Lending Services.
Wrongful Lending Act does not include a Wrongful Professional Services Act or a Wrongful Trust
Services Act.
Wrongful Professional Services Act means any actual or alleged act, error, omission, misstatement,
misleading statement or breach of duty or neglect by any Insured in the rendering of, or failure to render
Professional Services. Wrongful Professional Services Act does not include a Wrongful Lending Act
or a Wrongful Trust Services Act.
Wrongful Trust Services Act means any actual or alleged act, error, omission, misstatement, misleading
statement or breach of duty or neglect by the Insured in the rendering of, or failure to render, Trust
Services by a Trust Department or a Trust Company pursuant to a written agreement:
1.   for a fee, commission or other monetary compensation;
2.   for no fee, commission or other monetary compensation if a fee, commission, or other monetary
     compensation would usually be received by the Company for such services, but for business or other
     reasons is waived or not charged by the Company; or
3.   for other remuneration which inures to the benefit of the Company.
Wrongful Trust Services Act does not include Wrongful Professional Services Act or Wrongful
Lending Act.

                                      SECTION III – EXCLUSIONS

A.   EXCLUSIONS APPLICABLE TO ALL INSURING AGREEMENTS
Bodily & Personal Injury/Property Damage - The Insurer shall not be liable to pay any Loss in
connection with any Claim made against any Insured for bodily injury, sickness, disease or death of any
person, or damage to, loss of use or destruction of any tangible property; provided, however, that this
exclusion shall not apply to Claim for emotional distress, mental anguish or humiliation under Insuring
Agreement A. Lender Liability.
Cyber Liability - The Insurer shall not be liable to pay any Loss in connection with any Claim made
against any Insured arising from, based upon, or attributable to:
1.   the inability of an authorized user to gain access to a network;
2.   electronic information damage or theft to a network;
3.   the suspension or interruption of any network;
4.   electronic infection of any network;
5.   an attack executed over one or more networks or the Internet that disrupts the operation of a network
     or renders a network inaccessible to authorized users; or
6.   the unauthorized access to any electronic data processing system of the Company.
Bonding/Insurance Company - The Insurer shall not be liable to pay any Loss in connection with any
PL990163 0414                                                                                       Page 4
            Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 43 of 99


Claim made against any Insured brought directly or indirectly by or for the benefit of any insurance carrier or
bond carrier of the Company, or any affiliate of the Company, regardless in whose name such Claim is
actually made.
Fraud/Illegal Profit and Violation of Law - The Insurer shall not be liable to pay any Loss in connection
with any Claim made against any Insured arising from, based upon, or attributable to:
1.    the gaining, of any profit, remuneration or pecuniary advantage to which such Insured is not legally
      entitled; or
2.    any fraudulent or criminal Wrongful Act with actual knowledge of its wrongful nature or with intent to
      cause damage by such Insured,
as evidenced by a final adjudication by a judge, jury or arbitrator in any proceeding.
Insured vs. Insured - The Insurer shall not be liable to pay any Loss in connection with any Claim made
against any Insured by, on behalf of, or at the behest of any Insured in any capacity; provided, however,
that this exclusion will not apply to:
1.    any Claim that is in the form of a cross claim, third party claim or other claim for contribution or
      indemnity which is part of, or results directly from a Claim which is not otherwise excluded by the terms
      of this Coverage Part; or
2.    any Claim brought or maintained by an Insured Person solely as a customer of the Company;
      provided such Claim is brought independently of, and totally without the solicitation, assistance,
      participation, or intervention of any other Insured.
Non-Subsidiary Wrongful Acts - The Insurer shall not be liable to pay any Loss in connection with any
Claim made against any Insured arising from, based upon, or attributable to any Wrongful Act by any
entity that is, or was, a Subsidiary, or by any Insured Person of such entity, occurring at any time during
which such entity was not a Subsidiary.
Outside Capacity Exclusion - The Insurer shall not be liable to pay any Loss in connection with any Claim
made against any Insured involving any Insured Person in their capacity as an employee, director, officer,
trustee, governor, member of the board of managers, or any equivalent position, of any entity other than the
Company, even if such service is with the knowledge and consent of, at the direction or reque st of, or part of
the duties regularly assigned to the Insured Person by the Company.
Past Acts - The Insurer shall not be liable to pay any Loss in connection with any Claim made against any
Insured arising from, based upon, or attributable to any actual or alleged Wrongful Acts committed on or
before the Retroactive Date set forth in Item 5. (b) of the Declarations Page or any Wrongful Acts occurring
prior to such date which together with Wrongful Acts occurring on or after such date would constitute
Interrelated Wrongful Acts.
Pollution - The Insurer shall not be liable to pay any Loss in connection with any Claim made against any
Insured arising from, based upon, or attributable to:
1.    the actual, alleged or threatened discharge, dispersal, seepage, migration, release or escape of any
      Pollutant; or
2.    any request, demand, order, or statutory or regulatory requirement that any Insured or others test for,
      monitor, clean up, remove, contain, treat, detoxify or neutralize, or in any way respond to, or as sess the
      effects of, any Pollutant;
provided, however, that this exclusion shall not apply to the portion of any Claim based upon, arising out of,
or in consequence of the diminution in value of any securities in connection with an Insured’s investment on
behalf of a customer in any organization, other than the Company, if such diminution in value is allegedly as
a result of a Pollutant.
Prior Knowledge/Litigation - The Insurer shall not be liable to pay any Loss in connection with any Claim
made against any Insured arising from, based upon, or attributable to:
1.    any fact, circumstance, situation, or event that is or reasonably would be regarded as the basis for a
      Potential Claim about which any Executive Officer had knowledge prior to the date of the initial

PL990163 0414                                                                                           Page 5
            Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 44 of 99


      Application for coverage; or
2.    any prior or pending civil, criminal, administrative or regulatory proceeding initiated against any Insured
      prior to the applicable Prior and Pending Litigation Date(s) set forth in Item 5.(a) of the Declarations
      Page, or arising out of or in any way involving the same or substantially the same fact, circumstance,
      situation or Wrongful Act underlying or alleged in such prior or pending civil, criminal, administrative or
      regulatory proceeding.
Prior Notice - The Insurer shall not be liable to pay any Loss in connection with any Claim made against
any Insured arising from, based upon, or attributable to any Wrongful Act or any Wrongful Act which is
part of any Interrelated Wrongful Acts, or any fact, circumstance or situation, which has been the subject
of any notice given to any carrier other than the Insurer under any similar insurance policy providing
protection for any Insured.
Safe Deposit Box - The Insurer shall not be liable to pay any Loss in connection with any Claim made
against any Insured arising from, based upon, or attributable to any safe deposit box operations of the
Company.
Violation of Lending Law - The Insurer shall not be liable to pay any Loss in connection with any Claim
made against any Insured arising from, based upon, or attributable to any intentional violation of federal or
state laws or regulations relating to extensions or denials of credit, including the Truth -in-Lending Act, Equal
Credit Opportunity Act, Fair Credit Reporting Act, Fair Debt Collection Practices Act, the Home Owners Equity
Protection Act of 1994, Fair Credit Billing Act, and usury laws or regulations, as amended.

B.     EXCLUSIONS APPLICABLE TO LENDER LIABILITY COVERAGE
Financial Insolvency - The Insurer shall not be liable under Insuring Agreement A. to pay any Loss in
connection with any Claim made against any Insured arising from, based upon, or attributable to Financial
Insolvency.
Foreclosed Property - The Insurer shall not be liable under Insuring Agreement A. to pay any Loss in
connection with any Claim made against any Insured arising from, based upon, or attributable to any error,
misstatement, misleading statement, act, omission, neglect or breach of duty arising out of the operation or
control of any entity or property that the Company acquired as security or collateral for any loan, lease or
extension of credit; provided, however, that this exclusion shall not apply to Claims resulting from Wrongful
Acts in connection with the foreclosure process or the ownership, operation management or control of any
one (1) to four (4) family residential property.
Legal Lending Limit Violation - The Insurer shall not be liable under Insuring Agreement A. to pay any
Loss in connection with any Claim made against any Insured arising from, based upon, or attributable to any
Wrongful Lending Act in connection with a loan, lease or extension of credit that was, at the time of its
making, in excess of the legal lending limit of the Company.
Lending/Advisory Services - The Insurer shall not be liable under Insuring Agreement A. to pay any Loss
in connection with any Claim made against any Insured arising from, based upon, or attributable to any
lending or advisory services where such services are not reasonably regarded as part of the process of
extending a loan, lease or extension of credit to a Borrower.

C.   EXCLUSIONS APPLICABLE TO PROFESSIONAL SERVICES LIABILITY AND TRUST SERVICES
     LIABILITY COVERAGES
Contractual Liability - The Insurer shall not be liable under Insuring Agreements B. or C. for Loss in
connection with any Claim made against any Insured arising from, based upon, or attributable to any liability
under any contract or agreement; provided, however, that this exclusion shall not apply to:
1.    the extent that the Company would have been liable in the absence of the contract or agreement;
2.    Defense Expenses to the extent that such Claim alleges a breach of contractual obligations because
      of a Wrongful Professional Services Act or a Wrongful Trust Services Act; or
3.    the extent that the Company has agreed to indemnify an Employee whose services have been leased
      to the Company.

PL990163 0414                                                                                           Page 6
            Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 45 of 99


ERISA - The Insurer shall not be liable under Insuring Agreements B. or C. for Loss in connection with any
Claim made against any Insured for any actual or alleged violation of the responsibilities, obligations or
duties imposed upon fiduciaries by ERISA or any similar law.
Failure to Maintain Insurance - The Insurer shall not be liable under Insuring Agreements B. or C. for
Loss in connection with any Claim made against any Insured arising from, based upon, or attributable to any
failure of the Insureds to effect or maintain adequate insurance.
Fee Dispute - The Insurer shall not be liable under Insuring Agreements B. or C. for Loss in connection with
any Claim made against any Insured arising from, based upon, or attributable to any disputes over fees,
commissions, or charges for the Company's services.
Forgery - The Insurer shall not be liable under Insuring Agreements B. or C. for Loss in connection with any
Claim made against any Insured for:
1.    accepting, paying or cashing any instrument which bears a forged, altered or        unauthorized signature
      or endorsement;
2.    acquiring, selling, transferring, paying or delivering any funds or property, extending any credit or
      giving any value, on the faith of any instruction or advice which:
      a.    bears a forged signature; or
      b.    has been altered without the knowledge and consent of the person or entity who signed or
            endorsed the instruction or advice; or
3.    guaranteeing in writing or witnessing any handwritten signature, which:
      a.    is on a transfer, assignment, bill of sale, power of attorney, evidence of debt, guarantee,
            endorsement or similar written document; and
      b.    is forged or altered.
Guarantees - The Insurer shall not be liable under Insuring Agreements B. or C. for Loss in connection with
any Claim made against any Insured arising from, based upon, or attributable to the Insured’s actual or
written representations, promises or guarantees regarding the past performance or future value of any
investment product.
Investment Performance - The Insurer shall not be liable under Insuring Agreements B. or C. for Loss in
connection with any Claim made against any Insured arising from, based upon or attributable to the
depreciation, or failure to appreciate, in value of any investments, including securities, commodities,
currencies, options or futures; provided, however, that this exclusion will not apply to any such depreciation, or
failure to appreciate, resulting from negligence on the part of any Insured in failing to effect a specific
investment transaction in accordance with the specific prior instructions of a customer of the Company.
Investment Banking/Securities Underwriting - The Insurer shall not be liable under Insuring
Agreements B. or C. for Loss in connection with any Claim made against any Insured arising from, based
upon, or attributable to:
1.    underwriting, syndicating or promoting any security (except loan syndications or equity or debt securities
      issued by the Company);
2.    rendering of advice or recommendations regarding any actual or attempted or threatened merger,
      acquisition, divestiture, tender offer, proxy contest, leveraged buy-out, going private transaction,
      bankruptcy, reorganization, restructuring, recapitalization, spin-off, offering of securities, dissolution or
      sale of all or substantially all of the assets or stock of an entity;
3.    rendering of any fairness opinion;
4.    proprietary trading;
5.    any acquisition or sale of securities of the Company for its own account; or
6.    any other investment banking activity,
including any disclosure requirements in connection with any of the foregoing.

PL990163 0414                                                                                             Page 7
            Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 46 of 99


Lost Property - The Insurer shall not be liable under Insuring Agreements B. or C. for Loss in connection
with any Claim made against any Insured arising from, based upon, or attributable to the actual physical loss
of, or damage to, money, securities, property or other items of value in the care, custody or control of the
Company, its correspondent bank or other authorized representative, including money, securities, property or
other Items of value stored in a safe deposit box at, or in transit while in the care, custody or control of, the
Company, its correspondent bank or other authorized representative.
Mechanical Malfunction - The Insurer shall not be liable under Insuring Agreements B. or C. for Loss in
connection with any Claim made against any Insured arising from, based upon, or attributable to the
mechanical or electronic failure, breakdown or malfunction of any machine or system of machines.
Notary Services - The Insurer shall not be liable under Insuring Agreements B. or C. for Loss in connection
with any Claim made against any Insured arising from, based upon, or attributable to the notarization or
certification of a signature of a person unless that person, or someone claiming to be that person, physically
appeared before the Insured at the time of such notarization or certification.
Other Services - The Insurer shall not be liable under Insuring Agreements B. or C. for Loss in connection
with any Claim made against any Insured arising from, based upon, or attributable to:
1.    Lending Services;
2.    services performed by any entity which the Company has acquired or is in control of, as security or
      collateral for an extension of credit;
3.    the practice of law or the rendering of legal services;
4.    architectural or construction management services; or
5.    services provided to customers as an enrolled actuary as that term is used in or in connection with
      ERISA.
Receiver/Trustee in Bankruptcy - The Insurer shall not be liable under Insuring Agreements B. or C. for
Loss in connection with any Claim made against any Insured arising from, based upon, or attributable to the
Company serving as a receiver, trustee in bankruptcy, conservator or assignee for the benefit of creditors.
Stop Payment Liability - The Insurer shall not be liable under Insuring Agreements B. or C. for Loss in
connection with any Claim made against any Insured arising from, based upon, or attributable to the failure
to comply with any notice of any customer of the Company, or any authorized representative of such
customer, to stop payment on any check or draft made or drawn by such customer, or the wrongful dishonor
of, or wrongful failure to certify, any check or draft made or drawn by any customer of the Company or any
authorized representative of such customer.
Insolvency - The Insurer shall not be liable under Insuring Agreements B. or C. for Loss in connection with
any Claim made against any Insured arising from, based upon, or attributable to the insolvency,
conservatorship, receivership, bankruptcy, or liquidation of, or financial inability to pay or suspension of
payment by, any bank or banking firm, investment company, investment bank, broker or dealer in securities or
commodities, insurance or reinsurance entity, or any other organization of a similar nature (other than the
Company); provided, however, that this exclusion will not apply to the extent such Claim alleges a covered
Wrongful Professional Services Act or Wrongful Trust Services Act solely in connection with an
Insured’s investment on behalf of a customer in the stock of any of the foregoing entities.

                           SECTION IV - OTHER TERMS AND CONDITIONS

This Section will supplement and not replace, Section XI., entitled “Other Terms And Conditions” contained in
the General Terms and Conditions Applicable to All Coverage Parts.
A.      ADDITION OF A NEW PROFESSIONAL SERVICE - If, during the Policy Period, the Insured
        begins to offer a new Professional Service, coverage will be provided for such new Professional
        Service provided written notice has been given to the Insurer, together with such documentation and
        information as the Insurer may request, within ninety (90) days after the Insured begins to offer
        such new Professional Service. Coverage will not be afforded after ninety (90) days unless the
        Insurer has agreed to provide such coverage, subject to any additional terms and conditions, and
        payment of any additional premium, as may be required by the Insurer. The ninety (90) day notice
PL990163 0414                                                                                           Page 8
            Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 47 of 99


       requirement and the ninety (90) day limitation of coverage will not apply, provided that:
       1.       the total projected annual fee income or gross revenue to the Company from such new
                Professional Service does not exceed ten (10%) of the annual fee income or gross revenue
                to the Company for all Professional Services, as reflected in the Company’s most recent
                financial statements as of the inception date of the Policy Period; or
       2.       the Company begins to offer such Professional Service less than ninety (90) days prior to
                the end of the Policy Period.
       Notwithstanding the foregoing, no coverage will be afforded under this section with respect to any
       new Professional Service specifically excluded from the definition of Professional Services.
B.     OTHER INSURANCE - This Coverage Part shall not be subject to the terms of any other insurance.
       All Loss, including Defense Expenses, payable under this Policy shall be excess to any other valid
       and collectible insurance available to any Insured, including any insurance under which there is a duty
       to defend, unless such insurance is written specifically excess of this Coverage Part by reference in
       such other policy to the Policy Number assigned to this Policy.




PL990163 0414                                                                                         Page 9
Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 48 of 99




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        Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 49 of 99



This endorsement is attached and forms a part of Policy No. WDO1429740 00 effective 1/1/2016 .

                               IDAHO AMENDATORY ENDORSEMENT

In consideration of the premium paid for this Policy, the Insurer and the Insureds agree that this
endorsement amends the General Terms and Conditions Applicable to All Coverage Parts:

1. Section VIII. – CANCELLATION, NONRENEWAL AND CONVERSION, Subsections A.1. and A.2. are
   deleted and replaced as follows:
   A.1. The Parent Company shown in the Declarations may cancel this Policy by mailing or
        delivering to the Insurer advance written notice of cancellation. Cancellation will be effective
        on the later of the date requested by the Parent Company or the date the Insurer receives
        the request. Payment or tender of the unearned premium by the Insurer to the Parent
        Company shall not be a condition precedent to the effectiveness of cancellation, but such
        payment shall be returned within thirty (30) days of the date the Insurer was notified or
        decided to cancel the Policy and issue the cancellation notice.
   A.2. a.     If this Policy has been in effect for less than sixty (60) days and is not a renewal of a
               Policy the Insurer issued, the Insurer may cancel this Policy by mailing to the
               Parent Company written notice stating when, not less than sixty (60) days thereafter,
               such cancellation shall become effective and the reason(s) therefore. The Insurer may
               cancel this Policy for nonpayment of premium, in which case fifteen (15) days written
               notice shall be given to the Parent Company.
         b.    If this Policy has been in effect for more than sixty (60) days or if this Policy is a
               renewal of a Policy the Insurer issued, the Insurer may cancel this Policy by mailing
               to the Parent Company written notice stating when such cancellation shall become
               effective and the reason(s) therefore. The Insurer shall provide not less than:
               (i)    fifteen (15) days notice of its intent to cancel for nonpayment of premium; or
               (ii)   sixty (60) days notice of its intent to cancel for any of the following reasons:
                      (1)   fraud or material misrepresentation made by or with the knowledge of any
                            Insured in obtaining the Policy, continuing the Policy or in presenting a
                            Claim under the Policy;
                      (2)   activities or omissions on the part of an Insured which increase any hazard
                            insured against, including a failure to comply with loss control
                            recommendations;
                      (3)   change in the risk which materially increases the risk of Loss after coverage
                            has been issued or renewed including, but not limited to, an increase in
                            exposure due to regulation, legislation or court decision;
                      (4)   loss or decrease of the Insurer's reinsurance covering all or part of the risk
                            exposure by the Policy;
                      (5)   determination by the Director that the continuation of the Policy would
                            jeopardize the Insurer's solvency or would place the Insurer in violation of
                            the insurance laws of this state or any other state; or
                      (6)   violation or breach by the Insured of any Policy terms or conditions other
                            than nonpayment of premium.




PL990170ID 0414                                                                                  Page 1 of 2
Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 50 of 99




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       Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 51 of 99



2. Section VIII. - CANCELLATION, NONRENEWAL AND CONVERSION, Subsection B. is deleted and
   replaced as follows:
   B.1. Non-Renewal Requirements
         a.    If the Insurer elects not to renew this Policy, the Insurer will mail or deliver to the
               Parent Company a written notice of intention not to renew at least sixty (60) days prior
               to the expiration or anniversary date of the Policy.
         b.    If notice is not mailed or delivered at least sixty (60) days before the expiration or
               anniversary date of this Policy, this Policy will remain in effect until sixty (60) days after
               the notice is mailed or delivered. Earned premium for the extended period of coverage
               will be calculated pro rata at the rates applicable to the expiring policy.
         c.    Changes in deductibles, premium, or a reduction in limits or coverage shall not be
               deemed to be a refusal to renew. The Insurer need not mail or deliver this notice if:
               (i)     the Insurer has offered to renew this Policy;
               (ii)    the Parent Company has obtained replacement coverage; or
               (iii)   the Parent Company has agreed in writing to obtain replacement coverage.

   B.2. Premium or Coverage Changes at Renewal
         a.    If the Insurer elects to renew this Policy, the Insurer will mail or deliver written notice
               of any total premium increase greater than ten percent (10%) which is the result of a
               comparable increase in premium rates, change in deductible, reduction in limits or
               reduction in coverage to the Parent Company at the last mailing address known to the
               Insurer. Any such notice will be mailed or delivered at least thirty (30) days before the
               expiration or anniversary date of the Policy.
         b.    If notice is not mailed or delivered at least thirty (30) days before the expiration or
               anniversary date of the Policy, the premium, retention, limits and coverage in effect
               prior to the changes will remain in effect until the earlier of the following:
               (i)     thirty (30) days after notice is given; or
               (ii)    the effective date of replacement coverage obtained by the Parent Company.
         c.    If the Parent Company accepts the renewal, the premium increase, if any, and other
               changes will be effective on and after the first day of the renewal term.
         d.    If the Parent Company elects not to renew, any earned premium for the resulting
               extended period of coverage will be calculated pro rata at the lower of the new rates or
               rates applicable to the expiring Policy.

3. Section XI. – OTHER TERMS AND CONDITIONS, is amended to add the following:
                                      Idaho Department of Insurance
                                            Consumer Affairs
                                                             rd
                                       700 W. State Street, 3 Floor
                                             P.O. Box 83720
                                          Boise, ID 83720-0043

                                   Toll-Free Number: 1-800-721-3272
                                     Local Number: 208-334-4250
                                  Website Address: www.DOI.Idaho.gov


Nothing herein contained shall be held to vary, alter, waive or extend any of the terms, conditions,
provisions, agreements or limitations of the Policy other than as above stated.


PL990170ID 0414                                                                                 Page 2 of 2
Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 52 of 99




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             Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 53 of 99




This endorsement is attached to and forms a part of Policy No. WDO1429740 00               effective. 1/1/2016

                         GENERAL TERMS AND CONDITIONS MODIFICATION
                              NON-CANCELLATION ENDORSEMENT

In consideration of the premium paid for this Policy, the Insurer and the Insureds agree that this
endorsement amends the General Terms and Conditions Applicable to All Coverage Parts:

1.      Section VIII. – CANCELLATION, NON-RENEWAL AND CONVERSION, Subsection A.2. is deleted and
        replaced as follows:

        A.       CANCELLATION
                 2.     The Insurer may not cancel this Policy from 1/1/2016_____ to 1/1/2017
                                                                                       _____ except for
                        nonpayment of premium, in which case the Insurer will provide written notice of
                        cancellation to the Parent Company at least ten (15) days before the effective date
                        of cancellation.


Nothing herein contained shall be held to vary, alter, waive or extend any of the terms, conditions, provisions,
agreements or limitations of the Policy other than as above stated.




PL990185ID 0414                                                                                    Page 1 of 1
Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 54 of 99




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            Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 55 of 99



This endorsement is attached to and forms a part of Policy No. WDO1429740 00 effective 1/1/2016

              DIRECTORS AND OFFICERS LIABILITY COVERAGE PART MODIFICATION
                              PRIVACY LIABILITY COVERAGE

In consideration of the premium paid for this Policy, the Insurer and the Insureds agree that this
endorsement amends the Directors & Officers Liability Coverage Part:

1.     Section I. - INSURING AGREEMENTS is amended to add the following:

       PRIVACY LIABILITY COVERAGE - The Insurer will pay on behalf of the Insured, Loss resulting
       from any Claim first made during the Policy Period or Extended Reporting Period (if exercised)
       against the Insured for any Wrongful Privacy Act.

       CUSTOMER PRIVACY EXPENSE COVERAGE - The Insurer will pay on behalf of the Insured,
       Customer Privacy Expense the Company has incurred as a result of a Wrongful Privacy Act
       which occurred during the Policy Period.

2.     Section IV. – DEFINITIONS is amended to add the following:

       Confidential Customer Information means information about a customer obtained by the
       Company including name, address, telephone number, date of birth, social security number, driver’s
       license number or other personal identification number, financial account number (including a bank
       account number, retirement account number, or healthcare spending account number), credit, debit
       or other payment card number, any individually identifiable health information pursuant to the Health
       Insurance Portability and Accountability Act of 1996 (“HIPAA”), or information concerning the
       individual that constitutes “non-public personal information” as defined in the Gramm-Leach Bliley Act
       of 1999, as amended, held by the Company.

       Confidential Customer Information Breach means any federal, state or local statutory or
       common law that requires notice to persons whose Personal Information was accessed or may
       reasonably have been accessed by an unauthorized person.

       Customer Privacy Expense means actual, necessary and reasonable expenses incurred as a result
       of unauthorized access to Confidential Customer Information including costs to notify
       customers, change account numbers and provide one year of basic credit monitoring services to
       affected customers.

       Privacy Policy means the internal or publicly accessible written documents that set forth the
       Company’s policies, standards and procedures for collection, use, disclosure, sharing, dissemination
       and correction or supplementation of, and access to, Confidential Customer Information.

       Wrongful Privacy Act means:

       1.       theft of Confidential Customer Information that is in the care, custody or control of the
                Company, or an independent contractor that is holding or processing such information on
                behalf of the Company;

       2.       the failure of the Company to timely disclose an incident or event triggering a violation of an
                Confidential Customer Information Breach;

       3.       failure by the Insureds to comply with that part of the Privacy Policy that specifically:

                (a)     prohibits or restricts the disclosure, sharing or selling of Confidential Customer


PL990198 0414                                                                         Page 1 Of 2
             Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 56 of 99


                        Information;

                 (b)    requires the Company to provide access to Confidential Customer Information
                        or to correct incomplete or inaccurate Confidential Customer Information after a
                        request is made by a customer of the Company; or

                 (c)    mandates procedures and requirements to prevent the loss of Confidential
                        Customer Information.

3.      The definition of Wrongful Act in Section IV. – DEFINITIONS is amended to add the following:

        Wrongful Act shall also mean a Wrongful Privacy Act.

4.      Section V. – EXCLUSIONS, Subsection A. is amended to add the following:

        Unauthorized Access to Confidential Customer Information

        arising from, based upon, or attributable to:
        1.       the unauthorized access to Confidential Customer Information where such
                 Confidential Customer Information was obtained from the customer, regardless of
                 whether this information was obtained through trick, artifice, fraud or false pretenses; or
        2.       the unauthorized access to Confidential Customer Information where the Confidential
                 Customer Information was obtained through the fraudulent use of debit, credit or ATM
                 cards.

5.      The Bodily & Personal Injury/Property Damage exclusion in Section V. – Exclusions, Subsection
        A. is deleted and replaced as follows:


        Bodily & Personal Injury/Property Damage - The Insurer shall not be liable to pay any Loss in
        connection with any Claim made against any Insured for bodily injury, personal injury, emotional
        distress, mental anguish, humiliation, sickness, disease or death of any person, injury resulting from
        libel, slander, defamation or disparagement, violation of a person’s right of privacy, or damage to,
        loss or use or destruction of any tangible property; provided, however, that this exclusion shall not
        apply to any otherwise covered Claim under the PRIVACY LIABILITY COVERAGE insuring agreement.


6.      The Maximum Limit of Liability for PRIVACY LIABILITY COVERAGE afforded under this endorsement
        shall be $50,000

        The Retention for PRIVACY LIABILITY COVERAGE afforded under this endorsement shall be
         $5,000

7.      The Maximum Limit of Liability for CUSTOMER PRIVACY EXPENSE COVERAGE afforded under this
        endorsement shall be $50,000

        The Retention for CUSTOMER PRIVACY EXPENSE COVERAGE afforded under this endorsement shall
        be $5,000


Nothing herein contained shall be held to vary, alter, waive or extend any of the terms, conditions, provisions,
agreements or limitations of the policy other than as above stated.




PL990198 0414                                                                          Page 2 Of 2
Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 57 of 99




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          Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 58 of 99




This endorsement is attached to and forms a part of Policy No. WDO1429740 00 effective 1/1/2016.

                                    POLICY CHANGE ENDORSEMENT
                                       (INVESTMENT ADVISOR)

In consideration of the premium paid for this Policy, the Insurer and the Insureds agree that this
endorsement amends the following Coverage Parts:

<Professional Liability Coverage Part>

It is agreed that each Coverage Part shown above is amended as follows:

A. The definition of Claim in SECTION II. DEFINITIONS is deleted and replaced as follows:

    Claim means:
    1. a written demand for monetary damages or non-monetary relief;
    2. a civil proceeding commenced by the service of a complaint or similar pleading;
    3. a criminal proceeding commenced by a filing of charges or return of an indictment;
    4. an arbitration, mediation or similar alternative dispute resolution proceeding if the Insured is
       obligated to participate in such proceeding or if the Insured agrees to participate in such
       proceeding, with the Insurer’s written consent, such consent not to be unreasonably withheld; or
    5. a written request to toll or waive a statute of limitations relating to a potential civil or
       administrative proceeding,
    against an Insured for a Wrongful Act including any appeal from such proceeding. Claim shall also
    mean a notice of investigation of violation(s) of law or regulation or disciplinary proceedings against an
    Insured by any governmental body or self-regulatory organization, but only if the investigation of
    violation(s) of law or regulation or disciplinary proceedings were initiated by a complaint by the
    Insured’s customer or client or former customer or client, arising from the Insured’s rendering or
    failure to render Professional Services for that customer or client or former customer or client;


B. The definition of Insured in SECTION II. DEFINITIONS is amended to add the following:

    Insured shall also mean the following:
    1. any Predecessor In Interest; and
    2. if the Parent Company is a limited liability company, any past or current manager thereof, but only
       for Professional Services rendered on the Company’s behalf or on behalf of Company’s
       Predecessor In Interest and within the scope of their duties as manager of such limited liability
       company and any past or current member thereof, but only for Professional Services rendered on
       the Company’s behalf or on behalf of Company’s Predecessor In Interest and within the scope
       of their duties as a member of such limited liability company.

C. The definition of Insured Person in SECTION II. DEFINITIONS is amended to add the following:

    Insured person shall also mean the following:
    1. any person who is, was, or after the inception of the Policy Period becomes partner or principal, but
       only for Professional Services rendered on the Company’s behalf or on behalf of Company’s
       Predecessor In Interest, during such time such person is a partner or principal, of the Company
       or Company’s Predecessor In Interest;


PL990236 0414                                                                            Page 1 of 5
         Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 59 of 99


   2. any person who is, was, or after the inception of the Policy Period becomes the appointed Chief
      Compliance Officer pursuant to Rule 206(4)-7 of the Investment Advisers Act of 1940 solely while
      acting in that capacity for Company or Company’s Predecessor In Interest; and

   3. Any individual, professional or professional organization while rendering Professional Services on
      behalf of or under contract with the Company, but only if specifically endorsed by name onto this
      insurance.

D. The definition of Professional Services in SECTION II. DEFINITIONS is deleted and replaced as
   follows:

   Professional Services means services rendered for or advice given to others by an Insured for a fee,
   remuneration, Pro Bono or other consideration in an Insured’s practice as a Financial Advisor.
   Professional Services also includes services performed in the capacity of a fiduciary pursuant to
   ERISA.
   Professional Services shall not include:
   1. any services rendered during the period of any suspension or revocation of an Insured’s
      certification, licensure, accreditation, appointment or other right to practice as a Financial Planner,
      Registered Representative, Registered Investment Advisor or Life Insurance Agent; or
   2. activities as a partner, principal, officer, director, manager, member, employee, independent
      contractor or administrative staff of any organization or public office other than the Company or an
      organization specifically endorsed by name onto this insurance.

E. SECTION II. DEFINITIONS is amended to add the following definitions:

   Broker shall have the meaning assigned to that term by the Securities Exchange Act of 1934, as
   amended; but Broker does not include a person who is a Registered Representative.
   Dealer shall have the meaning assigned to that term by the Securities Exchange Act of 1934, as
   amended, but Dealer does not mean a person who is a Registered Representative.
   Financial Advisor means an individual who is in the business of providing Financial Planning
   Services as a Financial Planner or Investment Management Services as a Registered
   Investment Advisor or providing general financial education courses and seminars including, but not
   limited to, courses in support of Section 404(c) of ERISA.
   Financial Plan means a written plan identifying a client's assets, liabilities, financial objectives and risk
   appetite and which recommends a course of activities or specific actions consistent with the client's risk
   tolerance to achieve the client's goals and objectives.
   Financial Planner means an individual in the business of providing Financial Planning Services to
   others. It includes a Registered Representative, Registered Investment Advisor or Life
   Insurance Agent while they are providing Financial Planning Services as part of a Financial Plan
   or an Investment Management Contract.
   Financial Planning Services means financial or investment advice given to individuals or their owned
   business organizations as part of a Financial Plan, comprehensive or modular, including advice with
   respect to personal risk management, investments, estate planning, retirement planning, college planning
   and taxes; or Investment Management Services provided pursuant to an Investment
   Management Contract as well as the implementation of the Financial Plan or the Investment
   Management Contract through the purchase or sale of Securities or life insurance products or other
   appropriate implementation strategies.
   Investment Management Contract means a written agreement wherein a client agrees to goals and
   strategies for the investment of the client's money, assisted by the Registered Investment Advisor,
   following a process which specifies investment goals, risk tolerance, asset allocation and guidelines for
   the selection and oversight of other registered investment advisors.

PL990236 0414                                                                              Page 2 of 5
         Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 60 of 99


   Investment Management Services means providing financial advice, advising and/or supervising the
   purchase or sale of Securities for a client by a Registered Investment Advisor pursuant to an
   Investment Management Contract.
   Life Insurance Agent means an individual licensed, as required by any applicable Federal law and the
   law of the state where any part of the transaction occurs, to sell life, health, disability, long term care or
   accidental death and dismemberment insurance including activities as a licensed life insurance consultant.
   It does not include anyone while acting as a general agent or in any similar capacity for a life insurance
   company.
   Non-traditional Life Insurance Products means viatical agreements, private placement life insurance
   products, life settlements, life settlement-backed securities (death bonds), senior settlements and any
   product originally issued in relation to a structured settlement, including but not limited to structured
   settlement factoring transactions as defined in the Internal Revenue Code.
   Predecessor In Interest means any organization, some or all of whose shareholders, members or
   partners have joined the Parent Company, but only if the prior organization is listed on the application
   for this insurance, and is specifically endorsed hereon by name.
   Pro Bono means Professional Services done for the public good and benefit, voluntarily and without
   payment.
   Registered Investment Advisor means an Insured who:
   1. meets the definition of investment adviser as defined in the Investment Advisers Act of 1940, as
      amended; and
   2. is registered as required by law with either the Securities Exchange Commission (SEC) or the
      appropriate state authority.
   Registered Representative means a person who:
   1. is registered with the Financial Industry Regulatory Authority (FINRA) or its successor as a
      Registered Representative of a Broker or Dealer pursuant to the provisions of the Securities
      Exchange Act of 1934; and
   2. is in the business of buying and selling Securities for the account of others, including but not limited
      to, direct participation products such as limited partnerships, shares in mutual funds, unit investment
      trusts and variable annuities.
   Registered representative does not include any person while acting in the capacity of a principal of a
   Broker or Dealer, including but not limited to a General Securities Principal or Limited Principal General
   Securities Sales Supervisor.
   Security in singular or plural shall have the meaning assigned to that term by the following:
   1. the Securities Exchange Act of 1934;
   2. the Securities Act of 1933;
   3. the Investment Advisers Act of 1940 as amended; and/or

   4. any rules issued by the Securities Exchange Commission pursuant to any of these acts.

F. The Other Services exclusion in SECTION III – EXCLUSIONS, Subsection C. is deleted and replaced
   as follows:

   Other Services - The Insurer shall not be liable under Insuring Agreements B. or C. for Loss in
   connection with any Claim made against any Insured arising from, based upon, or attributable to the
   Insured’s activities in any profession other than Financial Advisor, including but not limited to,
   Broker, Dealer, accountant, actuary, enrolled agent, tax preparer, lawyer, mortgage broker, property
   or casualty insurance agent, real estate agent or broker, securities analyst, or third party administrator.


PL990236 0414                                                                              Page 3 of 5
         Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 61 of 99


G. SECTION III. EXCLUSIONS, Subsection A., is amended to add the following exclusions:

   Confidential Information - The Insurer shall not be liable to pay any Loss in connection with any
   Claim made against any Insured arising from, based upon, or attributable to the use of non-public or
   confidential information in a manner prohibited by applicable law, rule, or regulation.
   Conflict of Interest - The Insurer shall not be liable to pay any Loss in connection with any Claim
   made against any Insured arising from, based upon, or attributable to Professional Services
   rendered to or on behalf of, or any recommendation to invest in any organization including the
   subsidiaries in which any Insured Person, the Company, spouse or Domestic Partner is a partner,
   principal, trustee, officer, director, manager, employee or a more than five percent (5%) shareholder or
   ownership interest in the organization at the time the Wrongful Act giving rise to said Claim took place.
   Copyright - The Insurer shall not be liable to pay any Loss in connection with any Claim made
   against any Insured arising from, based upon, or attributable to any misappropriation, infringement or
   violation of copyright, patent, trademark, service mark, trade name, trade secret or any other intellectual
   property rights.
   Disallowed Tax Deduction - The Insurer shall not be liable to pay any Loss in connection with any
   Claim made against any Insured arising from, based upon, or attributable to any disallowed
   deduction(s), credit(s) or other item(s) on a tax return; or for taxes which would be owed in any case by
   a customer or client.
   Discrimination - The Insurer shall not be liable to pay any Loss in connection with any Claim
   made against any Insured arising from, based upon, or attributable to unlawful discrimination
   committed by an Insured or at an Insured’s direction.
   Other Investment Products - The Insurer shall not be liable to pay any Loss in connection with
   any Claim made against any Insured arising from, based upon, or attributable to the purchase, sale,
   servicing, or recommendation to purchase, sell, or hold, any of the following:
   1. unregistered Securities and private placements;
   2. Non-traditional Life Insurance Products;
   3. any Security that derives its value by combining a derivative or financial instrument with another
      financial instrument. Such structured financial products include, but are not limited to, exchange-
      traded notes, asset backed securities, mortgage backed securities, credit default swaps, and
      collateralized or securitized debt obligations;
   4. promissory notes, real property, tangible property or tangible personal property;
   5. any pooled investment vehicle not registered with the Securities Exchange Commission, including but
      not limited to any hedge fund (registered or not), private equity fund, venture capital fund or
      mezzanine fund;
   6. any Security or contract whose value is linked to or derived from the value of an underlying asset
      such as commodities or other financial instruments including bonds, or market benchmarks such as
      interest rates or indexes. Such derivatives include, but are not limited to, future contracts, warrants,
      forward contracts, options, swaps, and exchange-traded funds.
   However, this exclusion shall not apply to mutual funds, publicly traded real estate investment trusts,
   publicly traded master limited partnerships, publicly traded limited partnerships, non-leveraged exchange
   traded funds or FDIC Company structured CD products.
   Other Investment-Related Entity - The Insurer shall not be liable to pay any Loss in connection
   with any Claim made against any Insured arising from, based upon, or attributable to the ownership,
   formation, capitalization, syndication, operation, management or administration of a general or limited
   partnership, an investment related Limited Liability Company, real estate syndicate, joint venture or any
   other type of venture or syndicate, or any type of charitable enterprise or entity.




PL990236 0414                                                                             Page 4 of 5
          Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 62 of 99


    Predecessor In Interest - The Insurer shall not be liable to pay any Loss in connection with any
    Claim made against any Insured by, on behalf of, or at the behest of any Predecessor In Interest,
    parent organization or any subsidiary, division or affiliated organization.
    Securities - The Insurer shall not be liable to pay any Loss in connection with any Claim made
    against any Insured arising from, based upon, or attributable to any of the following:
    1. trading or failure to trade in any Securities traded exclusively outside the United States of America,
       its territories, possessions, Puerto Rico or Canada;
    2. any function of an Insured as a specialist or market maker for any Securities;
    3. failure to make a market for any Securities;
    4. any action brought against any Insured by or on behalf of any clearing agency or arising out of any
       function of any Insured as a clearing agency.
    Unauthorized Securities - The Insurer shall not be liable to pay any Loss in connection with any
    Claim made against any Insured arising from, based upon, or attributable to any Claim against a
    Registered Representative based upon, arising from, or in any way involving Securities, investment
    products or any services not approved or authorized by the Broker or Dealer with which the
    Registered Representative is affiliated at the time the Wrongful Act giving rise to the Claim took
    place.

H. SECTION IV – OTHER TERMS AND CONDITIONS is amended to add the following:

    ADDITIONAL PAYMENT FOR LOSS CONTROL AND INVESTIGATIVE EXPENSES - If, during the
    Policy Period or Extended Reporting Period (if exercised), the Insured gives the Insurer written notice
    of a Wrongful Act or incident that is reasonably expected to result in a Claim but as to which no Claim
    has yet been made, the Insurer may, at Insurer’s sole option, choose to investigate the Wrongful Act
    or incident. Such an investigation will be at Insurer’s expense and will not reduce the Limits Of Liability
    or be subject to the Retention provisions of this insurance until one of the following occurs:
    1. a Claim results from the Wrongful Act or incident under investigation; or
    2. Insurer incurs $5,000 in expenses arising from the investigation.
    If a Claim is made and reported to Insurer, or once Insurer incurs $5,000 in investigative expense,
    any further payment will be considered Defense Expenses and will reduce the applicable Limits of
    Liability and be subject to the Retention provisions of this insurance.




Nothing herein contained shall be held to vary, alter, waive or extend any of the terms, conditions, provisions,
agreements or limitations of the Policy other than as above stated.




PL990236 0414                                                                              Page 5 of 5
          Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 63 of 99



This endorsement is attached to and forms a part of Policy No. WDO1429740 00 effective 1/1/2016.

                                     POLICY CHANGE ENDORSEMENT
                                         (CORRECTION EVENT)

In consideration of the premium paid for this Policy, the Insurer and the Insureds agree that this
endorsement amends the following Coverage Parts:

<Professional Liability Coverage Part>

It is agreed that each Coverage Part shown above is amended as follows:

A. The definition of Claim in Section II – DEFINITIONS is amended to add the following:

    Claim also means a Correction Event Claim.

B. Section II – DEFINITIONS is amended to add the following:

    Correction Costs means reasonable and necessary costs and expenses resulting solely from a
    Correction Event Claim.
    Correction Event Claim means a Wrongful Act by an Insured in the rendering of or failure to render
    Investment Management Services provided that:
    1. such Wrongful Act arose in the ordinary course of an Insured’s operations and, if not corrected,
       would directly result in damage to a customer or client of the Insured; and
    2. in the absence of any correction, a Claim alleging such Wrongful Act would have constituted a
       covered Claim under this Policy.
    Investment Management Services means providing financial advice, advising and/or supervising the
    purchase or sale of Securities for a client by a Registered Investment Advisor pursuant to an
    Investment Management Contract.
    Investment Management Contract means a written agreement wherein a client agrees to goals and
    strategies for the investment of the client's money, assisted by the Registered Investment Advisor,
    following a process which specifies investment goals, risk tolerance, asset allocation and guidelines for
    the selection and oversight of other registered investment advisors.
    Registered Investment Advisor means an Insured who:
    1. meets the definition of investment adviser as defined in the Investment Advisers Act of 1940, as
       amended; and
    2. is registered as required by law with either the Securities Exchange Commission (SEC) or the
       appropriate state authority.
    Security in singular or plural shall have the meaning assigned to that term by the following:
    1. the Securities Exchange Act of 1934;
    2. the Securities Act of 1933;
    3. the Investment Advisers Act of 1940 as amended; and/or
    4. any rules issued by the Securities Exchange Commission pursuant to any of these acts.

C. The definition of Loss in Section II – DEFINITIONS is amended to add the following:

    Notwithstanding any of the foregoing, Loss shall include Correction Costs.


PL990236 0414                                                                                       Page 1 of 2
          Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 64 of 99



D. Solely with respect to the coverage provided by this endorsement, SECTION III - EXCLUSIONS is
   amended to add the following subsection:

    EXCLUSIONS APPLICABLE TO CORRECTION EVENT COVERAGE
    Contractual Obligation Guarantee - The Insurer shall not be liable to pay any Loss in connection
    with any Claim made against any Insured arising from, based upon, or attributable to any contractual
    obligation to a customer or client of an Insured, guaranteeing any rate of return or the fulfillment of any
    minimum performance standards.
    Diminution - The Insurer shall not be liable to pay any Loss in connection with any Claim made
    against any Insured arising from, based upon, or attributable to any diminution in value of money,
    Securities, property, or any other item of value, unless caused by a Wrongful Act of any Insured
    under this Policy in the execution or implementation of Investment Management Services.
    Exculpatory Provision - The Insurer shall not be liable to pay any Loss in connection with any
    Claim made against any Insured arising from, based upon, or attributable to any Wrongful Act for
    which an Insured would not be liable pursuant to any contractual provision defining the scope of such
    Insured’s liability or providing protection for liability including, without limitation, any applicable
    exculpatory provision.
    Loss of Property - The Insurer shall not be liable to pay any Loss in connection with any Claim
    made against any Insured arising from, based upon, or attributable to any loss of money, Securities,
    or other property in the custody or control of an Insured.
    Transfer of Funds - The Insurer shall not be liable to pay any Loss in connection with any Claim
    made against any Insured arising from, based upon, or attributable to any wire or electronic transfer
    of funds initiated at any location not owned or operated by the Insured.

E. SECTION III – LIMIT OF LIABILITY AND RETENTION in the General Terms and Conditions is
   amended to add the following:

    $1,000,000 shall be the maximum Policy Year Aggregate Limit of Liability of the Insurer for all Loss
    under this Policy in connection with any Correction Event Claim, regardless of the number of such
    Correction Event Claims made against the Insureds. The limit described herein is a sublimit, included
    within, and not in addition to, the applicable Limit of Liability set forth in Item 4. of the Declarations Page.

    Notwithstanding any applicable Retention specified in the Declarations Page, the amount of $100,000
    shall be the Retention applicable to all Loss in connection with each Correction Event Claim. The
    applicable Retention specified in the Declarations Page shall continue to apply with respect to each Claim
    other than a Correction Event Claim. In the event more than one Retention applies to any Claim, the
    maximum total Retention applicable to such Claim shall be the highest of such applicable Retentions.

F. SECTION V – NOTICE OF CLAIMS AND POTENTIAL CLAIMS in the General Terms and Conditions is
   amended to add the following:

    NOTICE/PROOF OF LOSS APPLICABLE TO CORRECTION EVENT – As a condition precedent to the
    coverage provided under the Correction Event Endorsement, the Insured shall: (a) as soon as
    practicable, but no later than three (3) business days after an Insured first becomes aware of the
    Correction Event provide a notice of potential claim. This notice will set forth all circumstances of the
    loss and explain why the Insured believes it is entitled to coverage for the applicable loss.


Nothing herein contained shall be held to vary, alter, waive or extend any of the terms, conditions, provisions,
agreements or limitations of the Policy other than as above stated.



PL990236 0414                                                                                         Page 2 of 2
          Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 65 of 99




This endorsement is attached to and forms a part of Policy No. WDO1429740 00 effective 1/1/2016

                     PROFESSIONAL SERVICES BY SPECIFIC ENTITY EXCLUSION

In consideration of the premium paid for this Policy, the Insurer and the Insureds agree that this
endorsement amends the Professional Liability Coverage Part:

1.      Section III. – EXCLUSIONS, Subsection A. is amended to add the following:

        Professional Services by Specific Entity - The Insurer shall not be liable to pay any Loss in
        connection with any Claim made against any Insured arising from, based upon, or attributable to
        Professional Services performed by or on behalf of the entity or entities shown below:

        Entity
        Riskx Investments




Nothing herein contained shall be held to vary, alter, waive or extend any of the terms, conditions, provisions,
agreements or limitations of the Policy other than as above stated.




PL9990258 0414                                                                             Page 1 of 1
Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 66 of 99




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            Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 67 of 99




     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       EXCLUSION OF CERTIFIED ACTS OF TERRORISM
This endorsement modifies insurance provided under the following:
    Directors & Officers Liability Coverage Part




A. The following exclusion is added:
      Terrorism – The Insurer shall not be liable to pay Any Injury or Damage arising directly or indirectly,
      out of a Certified Act of Terrorism.
B. The following definitions are added:
    1. For the purposes of this endorsement, Any Injury or Damage means any injury or damage covered
       under any Coverage Part to which this endorsement is applicable to Loss as it is defined in any applicable
       Coverage Part.
    2. Certified Act of Terrorism means an act that is certified by the Secretary of the Treasury, in concur-
       rence with the Secretary of State and the Attorney General of the United States, to be an act of terrorism
       pursuant to the federal Terrorism Risk Insurance Act. The criteria contained in the Terrorism Risk Insur-
       ance Act for a Certified Act of Terrorism include the following:
        a. The act resulted in insured losses in excess of $5 million in the aggregate, attributable to all types of
           insurance subject to the Terrorism Risk Insurance Act; and
        b. The act is a violent act or an act that is dangerous to human life, property or infrastructure and is
           committed by an individual or individuals as part of an effort to coerce the civilian population of the
           United States or to influence the policy or affect the conduct of the United States Government by co-
           ercion.




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Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 68 of 99




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Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 69 of 99
Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 70 of 99
Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 71 of 99
Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 72 of 99
Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 73 of 99
Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 74 of 99
Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 75 of 99
Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 76 of 99
Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 77 of 99
Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 78 of 99
Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 79 of 99
Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 80 of 99
Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 81 of 99
Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 82 of 99
Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 83 of 99
Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 84 of 99
Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 85 of 99
Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 86 of 99
Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 87 of 99
Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 88 of 99
Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 89 of 99
Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 90 of 99
Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 91 of 99
Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 92 of 99
Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 93 of 99
Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 94 of 99
Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 95 of 99
Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 96 of 99
Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 97 of 99
Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 98 of 99
Case 4:17-cv-00490-DCN Document 7-2 Filed 12/07/17 Page 99 of 99
